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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA,

                             Plaintiff,

   v.                                                   CASE NO: 21-20005-CR-GAYLES

   ALBERICO AHIAS CRESPO, et al.

                     Defendant.
   ______________________________/

              DEFENDANT CRESPO’S MOTION FOR DOWNWARD DEPARTURE
                   OR, ALTERNATIVELY, FOR DOWNWARD VARIANCE

           Defendant, ALBERICO AHIAS CRESPO (“Mr. Crespo”), through undersigned counsel,

   and pursuant to Fed. R. Crim. P. 32, U.S.S.G. 5K2.0, and 18 U.S.C. § 3553(a) hereby submits his

   motion for downward departure or, alternatively, motion for downward departure, and in support

   alleges as follows:

                                               I. INTRODUCTION

           On January 6, 2021, Mr. Crespo, along with three co-defendants, was indicted in this case.

   ECF # 46. Mr. Crespo was charged in six counts, as follows: Count 1, Conspiracy to Distribute

   and Possess with Intent to Distribute a Controlled Substance in violation of 21 U.S.C. § 846 and

   841(b)(1)(C); Count 5, Conspiracy to Commit Witness Tampering in violation of 18 U.S.C. §

   1512(K) and 1512(b)(3); Counts 7-9, Witness Tampering in violation of 1512(b)(3); and Count

   10, Conspiracy to Obstruct Justice in violation of 18 U.S.C. § 1512(k) and 1512(c)(2). Mr. Crespo

   exercised his constitutional right to proceed to trial. And on August 29, 2023, the jury returned a

   verdict finding him not guilty as to Count 1, the count charging him with conspiracy to possess

   and distribute Oxycodone pills and guilty of remaining counts charging obstructive conduct.

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           Mr. Crespo has lived a productive and honorable life in his forty-nine years in this world,

   apart from the sad circumstances surrounding this case. Indeed, he has devoted much of his life to

   public service and, in that laudable journey, he has constantly defended and assisted individuals

   who are less fortunate and vulnerable. Because the Court presided over the trial, it has learned how

   Mr. Crespo’s religious beliefs and his association with Jorge Diaz, an individual who held an

   exalted position in the Santeria religion, through the years morphed into the circumstances that

   have placed him in his present situation. According to Anais Lorenzo, Diaz’s former common law

   wife, Mr. Diaz is a master manipulator. That was her testimony at trial. Mr. Diaz at trial testified

   that for years, the first few years of the relationship, his interactions with Mr. Crespo consisted

   exclusively of assisting him in religious rituals and practices. But after a few years of interacting

   with Mr. Crespo, he saw an opportunity to use Mr. Crespo to his own advantage and jumped on it.

   Essentially, Mr. Diaz used the Santeria religion to manipulate Mr. Crespo. And so, Mr. Diaz

   maneuvered himself into a position where he got Mr. Crespo tangled up in protecting and

   defending him from those who represented a threat – all the while, Mr. Diaz continued to keep Mr.

   Crespo close and loyal by administering religious counseling and guidance.

           The dynamic of the relationship between Mr. Diaz and Mr. Crespo is not here mentioned

   as an excuse or the sole reason for Mr. Crespo’s present situation. Not at all. However, this

   dynamic explains how a good and honorable person could be manipulated – particularly by an

   accomplished manipulator who uses the Santeria religion (with all its strange beliefs, which even

   includes talking to, and getting advice from, dead spirits) to manipulate others while portraying

   himself as a trustworthy individual with powers beyond those of normal humans. As an example,

   Anais Lorenzo, who testified for the Government and had no reason to help Mr. Crespo, under

   oath illustrated how Mr. Diaz had manipulated her into becoming a drug addict and putting her in

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   a position to help him to run his pill peddling business. She testified how she went from a normal,

   every-day working, and law-abiding individual, with a good and secured job at Jackson Memorial

   Hospital, to become a homeless drug addict, who assisted Mr. Diaz in his drug business, and

   ultimately ended up in prison – having to serve 18 months behind bars. Thanks, in great part, to

   Mr. Diaz. So, in viewing Mr. Crespo’s life, taking a panoramic view of that life, it is notable that

   he has lived a productive and honorable life prior to going to Mr. Diaz for religious guidance and

   assistance. It doesn’t excuse some of Mr. Crespo’s conduct, but it does explain an awful lot – and

   the Court should take into account the importance of the Santeria religion in Mr. Crespo’s life

   during the period in question in this case.

            Importantly, the one thing that Mr. Diaz put to rest at trial is that Mr. Crespo did not profit

   from Mr. Diaz’s drug peddling and that he was not present when Mr. Diaz was buying or selling

   drugs – as unfortunately it was narrated in the Criminal Complaint used to arrest Mr. Crespo in

   this case. To the contrary, Mr. Crespo has dedicated much of his life to combat drugs – and he

   bears the disabilities and scars (i.e., PTSD syndrome) suffered while doing so in the jungles of

   South America while serving our country in the military as well as subsequently during his service

   as a DEA agent.

   II. MR. CRESPO SHOULD RECEIVE A DOWNWARD DEPARTURE OR VARIANCE

            Mr. Crespo is deserving and qualifies for both a downward departure under § 5K2.0 of the

   Sentencing Guidelines or a variance per the 18 U.S.C. § 3553(a) factors for the reasons outlined

   below:

            A.      Downward Departure




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                    (1)      Circumstances of the offense – The Sentencing Guidelines permit a

   downward departure given the circumstances in this case. More to the point, in requesting for the

   downward departure, Mr. Crespo relies on § 5K2.0, which provides as follows:

                    (3) DEPARTURES BASED ON CIRCUMSTANCESS PRESENT
                    TO A DEGREE NOT ADEQUATELY TAKEN INTO
                    CONSIDERATION. --- A departure may be warranted in an
                    exceptional case, even though the circumstance that forms the basis
                    for the departure is taken into consideration in determining the
                    guideline range, if the court determines that such circumstance is
                    present in the offense to a degree substantially in excess of, or
                    substantially below, that which ordinarily is involved in that kind of
                    offense.

           U.S.S.G. § 5K2.O.

           The Court presided over the trial and, therefore, knows the evidence surrounding this case.

   During the testimony of Mr. Diaz – the main Government witness – he testified that he was the

   one involved in trafficking in Oxycodone, and that Mr. Crespo had never been offered or received

   any portion of his ill-gotten proceeds. In addition, Mr. Diaz testified that Mr. Crespo had never

   been present witnessing one of his drug transactions, thereby contradicting information provided

   by Ruben Cabrera Sotolongo that had been included as part of the Criminal Complaint used to

   arrest Mr. Crespo. Thus, through this type of evidence, the jury was able to understand that Mr.

   Crespo was not conspiring or agreeing to engage in drug dealing nor was he profiting from it –

   and that explains the reasons the jury found Mr. Crespo not guilty of Count 1, the conspiracy to

   distribute and possess with intent to distribute a controlled substance.

           On the other hand, the evidence at trial did show Mr. Crespo had immense respect for Mr.

   Diaz during those years that Mr. Diaz was his Santeria priest. Indeed, at trial, it became clear that

   Mr. Crespo would refer to Mr. Diaz as “father.” And Mr. Diaz would refer to him as “son.” In

   effect, it was sort of a father/son relationship cemented by the Santeria religion. It was therefore

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   not surprising that Mr. Crespo felt an obligation to be protective of his religious guide, who treated

   him as a son. In fact, this type of protective behavior became a topic at trial because Mr. Crespo,

   during a phone call, used vulgarities and an aggressive tone while addressing Anais Lorenzo. And

   the Government used that type of protective behavior to convict Mr. Crespo of the obstruction of

   justice counts.

           But now that the trial is done and gone, the question is whether Mr. Crespo – who did not

   participate in the drug dealing and made no money from it – should be penalized more harshly

   than Mr. Diaz, the main drug dealer. That’s what is at stake here. And the Guidelines, fortunately,

   do not allow that. The reason it is not allowed is because the circumstances identified above were

   not “adequately taken into consideration in determining the applicable guideline range” by the

   Commission. Id. To the contrary, the Guidelines were structured with the idea that those

   individuals engaged in drug trafficking do it for money. Money is the reason for getting involved

   in drug trafficking. And the bigger the drug deal, the more money that is made by those involved

   – and the penalties in the Guidelines are structured to work accordingly. But in that rare case,

   where the individual did not make any money – indeed, no money was even offered to him – the

   Guidelines allow for a downward departure. Cf. United States v. Huber, 462 F.3d 945 (8th Cir.

   2006) (affirming the trial court’s determination that the high value of the laundered funds led to a

   base offense level that substantially overstated the seriousness of the offense). In a case where Mr.

   Crespo was not involved in drug dealing – and was found not guilty by the jury in that regard –

   and he received no part of the profits, the base offense level here, which is based on the number of

   pills, substantially overstates the seriousness of the offense. Accordingly, a downward departure

   is merited.



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                    (2)      Military Service – The Sentencing Guidelines also recognize military

   service as a basis for a downward departure. § 5H1.11 states the following:

                    Military service may be relevant in determining whether a departure
                    is warranted, if the military service, individually or in combination
                    with other offender characteristics, is present to an unusual degree
                    and distinguishes the case from the typical cases covered by the
                    guidelines.

           Mr. Crespo honorably served in the military and is deserving of a downward departure

   based on his service. The Government, in its objections to the Presentence Report, has taken the

   position that Mr. Crespo lied to the probation officer when interviewed for the purpose of preparing

   the Presentence Report in this case. The Government is absolutely wrong about that. Mr. Crespo

   did not misinform or lie to the probation officer. Mr. Crespo did serve in the military in the manner

   that he described to the probation officer. He firmly stands by page 71 of the Presentence report,

   where it is stated that “his service in the Air Force included his participation in a drug interdiction

   mission. He was stationed in Leticia, Colombia, Tabatinga, Brazil, and Ocho Rios, Peru, where he

   experienced combat against the Revolutionary Armed Forces of Colombia (FARC) guerrilla

   group.” If necessary, or preferred by the Court, Mr. Crespo will testify under oath at his sentencing

   hearing that what he conveyed to the probation officer was (and is) truthful.

           It is undeniable that around the time that Mr. Crespo served in the military, our armed

   forces were involved in drug interdiction missions in Latin America. Attached hereto and

   incorporated as Exhibit “1,” is a report published in the Washington Post circa 1997 that provides

   an overview of our military activities in drug interdictions around the time Mr. Crespo served in

   the military. Interestingly, the reports notes that; “For officials within SOUTHCOM, the drug war

   was an opportunity to apply the low-intensity-conflict skills honed during 30 years of fighting

   guerrilla insurgencies in Central America and the principal means of maintaining and enhancing

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   relation with militaries throughout the region.” (Exhibit 1, Report at 3.) In sum, Mr. Crespo did

   serve in the military, and did so honorably, and he suffers from PTSD, which is the by-product of

   his service for our country. Mr. Crespo deserves our thanks and not our condemnation.

                                (3)      Departure based on multiple circumstances – The Sentencing

   Guidelines also permit a downward departure based on a combination of two or more “offender

   characteristic or other circumstances, none of which independently is sufficient to provide a basis

   for departure.” § 5K2.0(c). Accordingly, the combination of the two characteristics or

   circumstances included immediately above suffices to grant Mr. Crespo a downward departure.

              As an alternative, a Downward Variance is warranted

              Mr. Crespo also warrants a downward variance. In Gall v. United States, 552 U.S. 38

   (2007), the Supreme Court held that the Sentencing Guidelines serve as a “starting point and initial

   benchmark,” but the district court has authority, based on its “individualized assessment” of the

   facts, to weigh the factors listed in section 3553(a) and fashion a sentence outside the guidelines.

   Id. at 49-51. The sentencing judge must “’consider every convicted person as an individual and

   every case as a unique study in [] human failings.’” Id. at 52 (quoting from Koon, 518 U.S. at 113.)

   The goal is to impose a sentence that is reasonable, meaning that is sufficient, but not greater than

   necessary. See §3553(a). 1



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     § 3553(a) provides the following seven factors that the court shall consider in determining the
   particular sentence to be imposed:

   (1) the nature and circumstances of the offense and the history and characteristics of the defendant;
   (2) the need for the sentence imposed (A) to reflect the seriousness of the offense, to promote
   respect for the law, and to provide just punishment for the offense; (B) to afford adequate
   deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant; and
   (D) to provide the defendant with needed educational or vocational training, medical care, or other
   correctional treatment in the most effective manner;
   (3) the kinds of sentences available;
                                                    7
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           Here, as far as (1) the “nature and circumstances of the offense and the history and

   characteristics of the defendant,” the Court heard the evidence during trial, so there is no need to

   restate in detail the nature of the offense. Likewise, much of the history and characteristics of Mr.

   Crespo are found in the Presentence Report. The Court is fully aware that Mr. Crespo has never

   had a single encounter with the criminal justice system prior to the circumstances involved in this

   case. Indeed, his record in this regard shows not even a single traffic ticket.

           And as far as (2) the need for the sentence to “reflect the seriousness of the offense,”

   “promote respect for the law,” and “provide just punishment,” Mr. Crespo understands this is a

   serious offense and that he must be punished. He has already absorbed serious punishment because

   (1) he has been publicly and repeatedly humiliated, so that a once upstanding citizen is now viewed

   by most folks in the community as a pariah; (2) he has been adjudicated a convicted felon, a

   striking stain that will follow him for life and that will prevent him from getting a decent job in

   the future; (3) he lost his career in law enforcement, and lost his retirement fund, which

   automatically forfeited upon being adjudicated a convicted felon; (4) he lost his license that

   allowed him to provide psychology services; (5) he lost all his savings, which had to be used to

   pay lawyers’ fees, costs, and many other expenses; (6) he suffers from PTSD, and now must

   scramble for some treatment while not having health insurance, something that he also lost; (7) he

   lost perhaps the most valuable possession of all, the ability of waking up in the morning, looking

   in the mirror, and being satisfied and at peace with that man who’s looking back. (8) And now, he



   (4) the kinds of sentence and the sentencing range established for … [inapplicable categories of
   offenses to the instant case];
   (5) any pertinent policy statement …[none applicable to the instant case];
   (6) the need to avoid unwarranted sentence disparities among defendants with similar records who
   have been found guilty of similar conduct; and
   (7) the need to provide restitution to any victims of the offense.
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   stands to lose his liberty, and must serve a prison sentence, something that was unimaginable not

   too long ago in his life. Yes, he lost a lot. So that, his punishment already has been serious, and it

   certainly promotes respect for the law.

           Although the Presentence Report, to some extent speaks to his character, it is important to

   remember that at trial we learned some things that speak highly of Mr. Crespo’s character. We

   learned that after Hurricane Maria, a category 5 hurricane, landed in Puerto Rico and devastated

   most of the island, Mr. Crespo volunteered to go there to help those in need. At that time, Puerto

   Rico did not have electricity in most of the island, the roads were impassable because trees,

   garbage, and debris abounded, gasoline was not available, as gas stations had been hit hard, and

   food was scarce. In short, the island was a disaster. And Mr. Crespo, and a small number of his

   coworkers, decided to go there. This was done at great personal sacrifice because they had to pay

   for their own plane fare, for lodging, for their food, etc. And their employer was not paying their

   salary while they were there. In addition, the island – without electricity – was full of mosquitoes.

   But notwithstanding all these obstacles Mr. Crespo stayed in Puerto Rico helping less fortunate

   folks for more than a month. This shows him to be a remarkable individual, who cares for others

   when there is nothing in it for him. HHS-OIG Agent testified to all this during the trial. He is

   Puerto Rican, and at trial thanked Mr. Crespo for what he did.

           We also learned from HHS-OIG Agent Henry Luna that Mr. Crespo did something for him

   and that he’s forever grateful. Henry Luna, who is gay, one day at work was being bullied by three

   FBI agents who worked with the Task Force. Luna, by nature, is not one to seek confrontation or

   stand up for himself under those circumstances. When Mr. Crespo saw the abusive treatment

   directed to Luna by the FBI agents, he immediately intervened and went up to them and, in no

   uncertain terms, told them that he would kick their behinds if they didn’t stop harassing Luna. And

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   the bullying quickly stopped. At trial Luna testified to this event and expressed his gratitude. He

   also stated that Mr. Crespo is one of his best friends, who was there for Luna when he was

   divorcing and had to care for his two young girls. Luna would go over to Mr. Crespo’s house with

   his girls and spend time there during the pandemic. Again, these types of circumstances show the

   goodness in Mr. Crespo. He is an individual who cares for others. He deserves a second

   opportunity. Accordingly, we ask the Court to grant a downward variance in this case.

                                                        Respectfully submitted,

                                                        s/Jose M. Quinon
                                                        Jose M. Quinon

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                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true copy of the foregoing Defendant Crespo’s Motion for

   Downward Departure or, Alternatively, Downward Variance was filed this December 5, 2023, via

   PACER, which will serve copy on all parties in this case.

                                                        s/Jose M. Quinon
                                                        Jose M. Quinon




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             EXHIBIT 1
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      Reluctant Recruits
      The US Military and the War on Drugs
      Peter Zirnite
      WOLA (Washington Office on Latin America), Washington DC,
      August 1997



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      Executive Summary

      Despite the end of the Cold War and recent transitions toward more democratic societies
      in Latin America, the United States has launched a number of initiatives that strengthen
      the power of Latin American security forces, increase the resources available to them, and
      expand their role within society - precisely when struggling civilian elected governments
      are striving to keep those forces in check. Rather than encourage Latin American
      militaries to limit their role to the defense of national borders, Washington has provided
      the training, resources and doctrinal justification for militaries to move into the business
      of building roads and schools, providing veterinary and child inoculation services, and
      protecting the environment. Of greatest concern, however, is US encouragement and
      support for the region's armed forces - including the US military itself - to play a
      significant role in domestic counternarcotics operations, a law enforcement function
      reserved in most democracies for civilian police.

      Among the vast array of US government agencies involved in drug control efforts, the
      Department of Defense (DOD) is on the front line of the war on drugs in Latin America, a
      role mandated by the 1989 National Defense Authorization Act (NDAA). The act
      designated DOD as the "single lead agency" for the detection and monitoring of illicit
      drug shipments into the United States. Congress backed this directive with dollars,
      quadrupling DOD's counter-drug budget between Fiscal Year (FY)1988 and FY1992,
      when it peaked at $1.22 billion. Billions more have been spent since then.

      As the perceived threat of communism faded and eventually collapsed in the 1980s, the
      drug war replaced the Cold War as the military's central mission in the Western
      Hemisphere. Few in the military establishment, however, embraced the counternarcotics
      mission enthusiastically. While many regional commanders and their officers reluctantly
      complied with the Pentagon's directive to develop plans for carrying out the new mission,
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      the Panama-based US Southern Command (SOUTHCOM) eagerly took it on.

      For officials within SOUTHCOM, the drug war was an opportunity to apply the low-
      intensity-conflict skills honed during 30 years of fighting guerrilla insurgencies in Central
      America and the principal means of maintaining and enhancing relations with militaries
      throughout the region. Closer ties with Latin American military forces help to encourage
      "subordination to civilian authorities, defense transparency, peaceful resolution of
      disputes, and protection of human rights," according to Gen. Wesley K. Clark, until
      recently Commander in Chief of SOUTHCOM. (1)

      Testimony of Gen. Wesley K. Clark before the Senate Armed Services Committee, 11
      March 1997. Primarily coordinated out of Panama, the US military now undertakes a vast
      array of assistance, training, intelligence-gathering and surveillance activities aimed at
      reducing the flow of drugs into the United States.

      Passage of the 1989 NDAA coincided with President Bush's announcement of the Andean
      Initiative. Although US military personnel had been involved in training and transporting
      foreign antinarcotics personnel outside the country since1983, the Andean strategy
      opened the door to a dramatic expansion of this role, and to a significant infusion of US
      assistance to police and military forces; the Andes quickly replaced Central American as
      the primary recipient of such assistance. While aid levels declined in the early 1990s, over
      the last 18 months the US Congress and the Clinton administration have again
      dramatically escalated the provision of antinarcotics-related security assistance, primarily
      to the Andean region and Mexico.

      The Andean Initiative placed the spotlight on Colombia, Peru, and Bolivia, and the impact
      of the drug war in those countries generated vocal concern among human rights groups.
      The vast majority of DOD's spending in the early 1990s, however, went to support
      domestic law enforcement efforts, and to detection and monitoring operations in the
      Caribbean and Gulf of Mexico transit zones, employing state-of-the-art military
      surveillance at a staggering financial cost. Those efforts quickly came under fire, as a
      series of investigations by the General Accounting Office (GAO) found transit zone
      interdiction programs to be costly and ineffective.

      In late 1994, President Clinton shifted the emphasis of the US counter-drug strategy in
      Latin America, after an extensive administration review concurred with the GAO.
      Through a Presidential Decision Directive, he moved the focus of interdiction efforts
      from the transit zone back to the so-called source countries, particularly the "air bridge"
      connecting coca growers and paste producers in Peru and Bolivia with cocaine refiners in
      Colombia. A year later, the architect of this strategy, Gen. Barry McCaffrey, former
      commander-in-chief of SOUTHCOM, was appointed "drug czar."

      Mirroring Bush administration claims about victories in transit zone interdiction, the
      Clinton White House soon declared its air-bridge strategy a success, citing declining
      prices paid for coca leaf and demands by pilots for more money to fly drug-laden planes.
      But even the administration's most zealous drug warriors admit that gains have been more
      tactical than strategic. Drug traffickers circumvent radar interdiction by flying below it
      and transporting more illicit drugs via land or river. Perhaps most significantly, the need
      to bring raw materials into Colombia, the primary cocaine-producing country, has been
      reduced by the expansion of coca production in Colombia itself - by 32 percent in 1996
      alone.
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      Despite spending some $20 billion over the past decade on international drug control and
      interdiction efforts, illegal drugs from Latin America still flood the United States - a fact
      that concerns many within the military itself. Pentagon-backed counter-drug operations
      have resulted in some successes - the arrests of drug traffickers, eradication of coca fields,
      destruction of processing labs, and disruption of transportation - but gains have been
      episodic and temporary, as the sophisticated, well-financed "enemy" adapts quickly to
      enforcement strategies.

      The seizure of thousands of metric tons of cocaine between 1988 and 1995, and the
      eradication of more than 55,000 hectares of coca plants, have failed to reduce the supply
      of illegal drugs in the United States or their availability, as measured by price and purity.
      Eradication in the Andes is offset by expanded cultivation. The area under coca
      cultivation actually grew by 15 percent from 1988 to 1995, and opium poppy cultivation
      jumped by 25 percent. As a result, the seizures of cocaine and heroin "made little impact
      on the availability of illegal drugs in the United States and on the amount needed to
      satisfy the estimated US demand." (2)

      After noting how aggressive U.S-led interdiction efforts in Latin America simply force
      the cartels to diversify routes and improve their methods of shipment, one frustrated
      military planner compared the cocaine industry to poison ivy and the military response to
      scratching. "Scratching gives some short-term relief - which is hard to resist - but it
      spreads the problem." (3) Other military analysts suggest that a cardinal rule for US
      forces operating abroad is to focus on a clearly identified central target; however, to
      combat illicit drugs military planners have identified 14 such targets. Pursuit of these
      moving targets threatens to draw the US armed forces deeper into Latin America, even as
      some in the Pentagon, such as DOD drug policy coordinator Brian Sheridan, claim to be
      "looking for the exit door on this issue." (4)

      The militarization of the drug war may be spreading more problems than just drug
      trafficking. US strategy depends on building close ties with Latin American militaries and
      beefing up their counter-drug capabilities, resorting in some countries to unholy alliances
      with armies that have deplorable human rights records. In Colombia, Mexico and Peru,
      US international drug control efforts - including the provision of equipment, training and
      direct assistance - contribute to counterinsurgency campaigns characterized by gross
      violations of human rights. Moreover, the US war on drugs has promoted a dangerous
      internal security role for Latin American militaries. Finally, it provides an on-the-ground
      role in the region for the US military and expanded intelligence-gathering and
      surveillance, evoking concerns about national sovereignty among countries throughout
      the hemisphere.

      These issues generate significant controversy on Capitol Hill. Members of Congress have
      questioned both the human rights impact of drug policy and the US government's ability
      to effectively monitor use of antinarcotics assistance. In four reports from 1991 to 1994,
      the GAO concluded that US officials lacked sufficient oversight of military aid to ensure
      that equipment was being used efficiently and as intended in Colombia and Peru. In
      February 1997, the agency reported that this problem lingers, and has spread, citing the
      Mexican government's use of US-supplied, counternarcotics helicopters to transport
      troops used in quelling the uprising in the state of Chiapas. (5) Amnesty International
      USA and Human Rights Watch/Americas have released information from the US
      Embassy in Colombia documenting the provision of US antinarcotics assistance to
      counterinsurgency units of the Colombian armed forces responsible for some of the worst
      human rights atrocities in recent years.
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      The concerns expressed by the Washington Office on Latin America (WOLA) and other
      human rights organizations about the on-the-ground impact of the drug war are shared by
      many within the DOD establishment. In fact, some of the harshest criticisms of the
      Pentagon's anti-drug mission come from within its own ranks, where parallels are often
      drawn to the Vietnam War. Like their civilian counterparts, military critics question why
      they were drafted for the mission, the tactics being used to carry it out, and its overall
      effectiveness. These doubts, however, have not tempered the enthusiasm of Congress and
      the US public for a military solution. In a nation that historically has a propensity to
      declare "war" on its social ills, as if waging a "war" simply means rallying others around
      a cause, it is not surprising that failure in such efforts brings a call for escalation rather
      than reevaluation. For many, the urge to "scratch" remains irresistible.

      I. Introduction

      Despite the end of the Cold War and transitions toward more democratic societies
      underway in Latin America, the US government has launched a number of initiatives that
      strengthen the power of Latin American security forces, increase the resources available
      to them, and expand their role within society - precisely when struggling civilian elected
      governments are striving to keep them in check. Rather than encourage Latin American
      militaries to limit their role to the defense of national borders, Washington has done the
      opposite, providing the training, resources and doctrinal justification for militaries to
      move into the business of building roads and schools, providing veterinary and child
      inoculation services, and protecting the environment. Of greatest concern, however, is US
      insistence that the region's armed forces - including the US military itself - play a
      significant role in domestic counternarcotics operations, a law enforcement function
      reserved in most democracies for civilian police.

      Although US international narcotics control efforts have borne little fruit to date, the US
      Congress and the Clinton administration have dramatically escalated the provision of
      security assistance to Latin America over the past 18 months in the name of fighting the
      war on drugs. For Fiscal Year (FY)1997, the budget for international drug control
      programs doubled from the previous year, reaching $213 million. In addition, the
      administration approved a package of $112 million worth of military equipment and
      training to be provided to Colombia, Venezuela, Peru, Mexico and select Caribbean
      countries for antinarcotics purposes. One of the more controversial components of the aid
      package was the inclusion of helicopters in the military assistance package for Mexico,
      despite confirmed reports that helicopters provided previously were used in
      counterinsurgency operations in the Chiapas region. All together - through the provision
      of foreign aid, additional military equipment and training - antinarcotics support for the
      region's military and police forces, primarily in the Andean region and Mexico, more than
      tripled from FY1996 to FY1997.

      For Colombia - whose armed forces probably have the worst human rights record in the
      hemisphere today - the Clinton administration approved the sale of armed Blackhawk
      helicopters, worth $169 million, and released an additional $30 million in military
      assistance that had been suspended following the "decertification" of Colombia in 1996.
      In 1997 alone, Colombia is slated to receive approximately $100 million in US security
      assistance for antinarcotics purposes. And this spring, for the first time, the
      Administration asked Congress for authority to provide another $150 million in military
      aid over five years for Peru and Colombia from the Pentagon budget, rather than through
      the much smaller and more tightly monitored foreign aid bill. By comparison, the Clinton
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      administration this year proposed just $273 million in development assistance for all of
      Latin America and the Caribbean.

      While there is little reason to believe that the policy will produce results in terms of
      controlling illicit drugs, its impact can be devastating in countries where the drug war is
      being waged. In the Andean region and Mexico, the United States is forging ever closer
      ties with abusive police and military forces. In Peru and Colombia, Washington is
      providing assistance to intelligence services and militaries who are the worst human
      rights violators in the hemisphere. Moreover, through its drug program Washington is
      reinforcing trends of ceding more and more authority and control to militaries, which
      themselves present the greatest threat to democracy in those countries. In countries such
      as Bolivia, struggling to confine militaries to the barracks and limit their mandate to
      external defense, the US government has succeeded - after years of pressure - to engage
      the army in the domestic law enforcement functions of drug control. In short, in country
      after country in Latin America, the US war on drugs undermines efforts to promote
      human rights democracy and regional security.

      The startling aid statistics provided above are over and above direct expenditures by the
      Pentagon and US intelligence agencies. Among the some 50 government agencies
      involved in drug control efforts, the Department of Defense (DOD) is on the front line of
      the war on drugs in Latin America. The Pentagon's drug plan calls for the US military to
      provide the intelligence, strategic planning, resources and training needed for the region's
      security forces to carry out antinarcotics efforts. In addition, the Pentagon is in charge of
      costly interdiction efforts and participates in domestic law enforcement efforts to stem the
      flow of illegal drugs into the United States. This year alone, DOD's budget allocates
      nearly one billion dollars to drug control efforts. This report lays out the development of
      the Pentagon's antinarcotics role, attitudes within the armed services as to that role, and
      the vast array of programs undertaken by DOD in the name of fighting illicit drugs.

      I. Calling in the Marines

      More than eight years after the drug war supplanted the Cold War as the central US
      military mission in the hemisphere, counternarcotics programs continue to drive the
      Pentagon's regional agenda. Despite the expenditure of billions of dollars, the deployment
      of thousands of personnel and sophisticated equipment, and massive assistance to its
      Latin American allies, the Pentagon has made little headway against its new foe. While
      the militarization of anti-drug operations may have produced occasional tactical victories
      - such as the destruction of cocaine processing labs, which are quickly replaced by
      facilities in more remote locations - even its most ardent supporters admit it has done
      little, if anything, to stem the flow of cocaine into the United States.

      The Pentagon was thrust to the front lines of the drug war by the National Defense
      Authorization Act (NDAA) for FY1989, which designated DOD as "the single lead
      agency" of the federal government for detecting and monitoring maritime and aerial
      shipments of illicit drugs into the United States. DOD had played a significant role in
      combating drugs since 1981 by providing such services as radar surveillance,
      transportation, and communication support to federal, state, and local law enforcement
      agencies engaged in counternarcotics activities. The FY1989 NDAA, however, marked
      the first legislatively mandated counternarcotics mission for the Pentagon.

      While the act authorized DOD to increase its support to state governments and required it
      to establish a network that integrated the communications and technical intelligence assets
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      of various federal agencies into a single network, it was the new detection and monitoring
      role that made the Pentagon a major player in the drug war in this hemisphere. Befitting
      its enhanced role, Congress rapidly increased funding for DOD's counternarcotics
      activities from $300 million in FY1988 to $1.22 billion in FY1992. Even at this peak
      level, counternarcotics activities accounted for less than 0.5 percent of the Pentagon's
      total budget; however, expensive weapons and surveillance systems were increasingly
      justified by pointing to their potential to contribute to the drug war.

      Soon after taking office in 1989, President Bush began to lay the groundwork for a
      comprehensive program that would shape the military's newly legislated, anti-drug
      mission. A key component of the plan, announced in a televised address early that
      September, was his Andean Initiative, or strategy. The five-year, $2.2-billion plan aimed
      to dismantle drug-trafficking organizations, isolate major coca growing regions, destroy
      processing labs, and block the delivery of precursor chemicals by providing enhanced law
      enforcement, military, and economic assistance to Bolivia, Colombia, and Peru. Under the
      Andean strategy, which was initially developed without input from the target countries,
      "US military involvement was to be limited to providing logistical support, equipment,
      and training to host nation armed forces, unless direct military assistance was specifically
      requested." (6)

      Announced limits on the role the US military would play, however, did not prevent their
      strong presence from generating concerns about eroding sovereignty in host countries,
      especially in countries such as Bolivia. US officials repeatedly used Bolivia's economic
      dependence on the United States to force the Bolivian government's compliance with US
      policy objectives - often at great social and political cost. In Colombia, opposition to the
      presence of US troops forced the suspension of civic action programs. Graffiti calling for
      the "yankees to go home" can still be found throughout Bogotá and other major
      Colombian cities.

      President Bush is widely credited for the Pentagon's formal emergence as a drug warrior,
      but the roots of the militarization of US counternarcotics efforts go much deeper. By the
      time he began to unleash the US armed forces in the fight against drugs, Americans
      already had been conditioned to think in terms of a military solution. It was a process that
      began in 1968 when President Nixon first declared "war on drugs." In addition to setting
      the stage for a future military response, the more immediate impact of Nixon's declaration
      was the establishment of series of offices for narcotics coordination and enforcement,
      including what in 1973 came to be known as the Drug Enforcement Administration
      (DEA).

      Three years after declaring war, Nixon took what has proven to be the pivotal step in
      setting the nation on its inexorable march toward militarization; he proclaimed drug
      trafficking to be a "national security" threat. (Ironically, his pronouncement was made in
      response to a national heroin "epidemic" that stemmed directly from the real war the
      United States was conducting in Southeast Asia against its then-number-one national
      security threat - communism.) The linking of drugs to national security provided the
      rationale that future presidents would use to justify expanding the role of US armed
      forces; and protecting national security remains the rallying cry of those who want to
      provide more money and more firepower to those waging the war on drugs. As recently as
      July 1997, the State Department released a Memorandum of Justification for the release
      of military assistance to Colombia, previously withheld due to that country's
      "decertification," that states: "We believe that the expenditure of up to $30 million in
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      FMF funds is vital to the national security interests of the United States."

      The "national security" rationale was beefed up in the 1980s when US officials began
      linking drug traffickers to guerrilla insurgencies in the hemisphere. At a 1984 Senate
      hearing, federal officials warned that international terrorists were turning to drug
      trafficking to finance their operations. "Drugs have become the natural ally of those that
      would choose to destroy democratic societies in our hemisphere through violent means,"
      cautioned then-US Customs Commissioner William Von Rabb, who sought to implicate
      Cuba and Nicaragua in using the regional drug trade to finance insurgencies throughout
      Latin America. (7) The next year, the Joint Chiefs of Staff cited the narcoguerrilla threat
      when it unanimously recommended that the US military take unprecedented action,
      including the imposition of naval and air blockades, to combat drug trafficking in Central
      America, a plan they that said could be "a rallying point for this hemisphere." (8)

      Development of the so-called "narcoguerilla theory" was a critical development in the
      militarization of international drug control efforts. It has been used not only to justify the
      Pentagon's involvement in the drug war, but also to legitimize the approach it has taken in
      carrying out its counter-drug mission. While targets of the Andean operations include
      "new" enemies - cocaine producers and traffickers - the "old" enemies of Marxist
      insurgents are explicitly part of antinarcotics programs in Colombia and Peru. Even today,
      the guerrilla-drug link is routinely cited as an important part of the rationale for increasing
      military assistance to those military and police forces. Washington is pressing Peruvian
      officials to accept its proposal for an expanded riverine interdiction program by arguing it
      would deprive Sendero Luminoso of needed money. (9)

      The narcoguerrilla theory, however, is widely questioned by experts in the Andean
      countries and in the United States. While some links undoubtedly exist, traffickers
      maintain an array of alliances - with state actors as well as guerrilla forces, potentially
      creating a quagmire for US policy-makers seeking support from the former. In Colombia -
      most often put forward as a bastion of "narco-terrorists" - drug mafias are most closely
      associated with right-wing paramilitary death squads, which themselves more often than
      not have close ties to members of the Colombian armed forces.

      Even before US officials first made the connection between Latin American insurgencies
      and drug trafficking, Congress went on the war path and in increasingly strident language
      began demanding a greater role for the military. The first legislative step to widen the
      Pentagon's role in the drug war came in 1981, when lawmakers amended the Posse
      Comitatus Act of 1897, which restricts US armed forces personnel from participating in
      law enforcement activities. (Adopted largely in response to concerns that arose from the
      military's role in post-Civil War Reconstruction, the act specifically prohibits only the use
      of the Army to "execute laws," but Pentagon officials have applied its restrictions to the
      other service branches as a matter of policy.) The amendment allows the military to
      provide equipment, information, training, and advice to law enforcement agencies, but it
      retains the prohibition on military participation in search, seizure, and arrests.

      Military leaders were reluctant recruits, drafted to conduct a mission for which they never
      would have volunteered. They tend to see the drug war as a fight better left to civilian
      forces because it has nothing to with the military's traditional role. "Reliance on military
      forces to accomplish civilian tasks is detrimental to both military readiness and the
      democratic process," then-Secretary of Defense Caspar Weinberger warned in 1985. (10)
      It also was widely believed among Pentagon officials that by calling in military, Congress
      was tacitly admitting its failure to solve the drug problems and was now looking for a
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      "whipping boy" to take the blame. This view was summed up by former DOD drug
      coordinator Lt. Gen. Stephen Olmstead, who said, "What I find is: Let's make the Army
      the scapegoat. We don't know what the answer is to the drug problem, so let's assign it to
      the Army and let them try to solve it." (11) Even today, key officials in the Pentagon
      remain skeptical. "We are doing what we have been told to do," concedes Pentagon drug
      policy coordinator Brian Sheridan. He bemoans the fact that, to carry out its assigned role
      in addressing this "terrible social problem," US military planners must choose from "a
      whole series of lousy policy options." (12)

      Undaunted by foot dragging on the part of the US military, Congress - where support
      continues to span the political spectrum, as no politician wants to be labeled "soft" on
      drugs - intensified its pressure on the Reagan administration. In response to the
      lawmakers' demands that the US armed forces be give an enhanced role in the drug war,
      Reagan issued a National Security Decision Directive (NSDD-221) in April 1986 that
      declared drug trafficking a "lethal" threat to the United States, "thus setting the stage for a
      rapid expansion of US military participation in drug interdiction at US borders and
      abroad." (13) The directive stipulated that US military forces could be used in interdiction
      overseas only if they were invited by the host country, directed by US agencies, and
      limited to a support function. Congress showed its enthusiastic support for the President's
      new directive, by allocating $379 million for DOD's FY1987 drug budget, nearly double
      the amount they provided the previous year.

      The one-two punch of Reagan's NSDD and Congress' increased funding enabled DOD to
      increase substantially its involvement in US drug interdiction efforts. The expanded effort
      included the establishment of an Air Force drug surveillance program and the creation of
      a joint Navy-Coast Guard maritime interdiction program. (14) NSDD-221 also set into
      motion Operation Blast Furnace, which was to become the "first publicized employment
      of US Army combat forces on the sovereign soil of another country to conduct joint anti-
      drug efforts." (15)

      Launched in July 1986, DOD's mission sent six Army helicopters and 150 troops to
      Bolivia to provide transportation and communications support to Bolivian and Drug
      Enforcement Administration (DEA) forces in their attack on remote cocaine processing
      labs. Despite its high profile, Operation Blast Furnace was a failure. By all accounts,
      including those of participants, it accomplished nothing more than a temporary disruption
      in cocaine processing, as the destroyed labs were quickly replaced once the mission ended
      in November. The operation, however, did produce the "important lesson" that "the center
      of gravity on the supply side of the equation is that point at which the chemicals, coca
      product, and transportation come together," according to one after-action analysis that
      assessed how well Blast Furnace conformed with the dictates of classic war strategist Carl
      von Clausewitz, who stressed that success on the battlefield depends on focusing all
      resources on the enemy's "center of gravity." (16) Eight years later, US drug policy
      planners would use this justification as the basis for future decisions to make "source
      countries" the focus of US counter-drug activities in the hemisphere.

      II. Congress Beats the War Drum

      On the home front, Congress increased federal funding for demand and supply reduction
      programs in the Anti-Drug Abuse Acts of 1986 and 1988. It was in the earlier act that
      Congress established the annual process by which the President must "certify" which
      countries are cooperating fully with US anti-drug efforts. The sanctions imposed on
      "decertified" countries were toughened in the latter act, which also waived, for certified
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      drug war allies, longstanding US restrictions on aid to foreign police forces. Countries
      which are fully decertified face a range of sanctions, including cut-offs in US assistance
      not directly related to antinarcotics efforts (with the exception of humanitarian aid), "no"
      votes on loans by the World Bank and Inter-American Development Bank, and possible
      trade sanctions. To date, Colombia is the only US ally to be fully decertified, although
      numerous countries have been decertified and then granted a "national security waiver" of
      the mandatory sanctions.

      With the November elections looming ahead, the House of Representatives approved a
      bill in 1988 which would have required the US military to seal US borders within 45
      days, given the military arrest powers, and authorized hot pursuit of suspected drug
      smugglers into foreign territory. Concern about this extreme proposal spurred Senate
      leaders to reach a compromise, which became the 1989 NDAA, discussed above. The
      legislation:

          1. Made DOD the single lead agency for the detection and monitoring of aerial and
             maritime transit of drugs into the United States;
          2. Required DOD to integrate the communications and technical intelligence assets
             of various federal agencies into a single network; and
          3. Required DOD to coordinate the increased use of the National Guard in
             antinarcotics activities.

      Congress also amended the Posse Comitatus Act again, this time giving the military
      "expanded authority" to work with foreign law enforcement agencies "in areas where the
      military would be operating outside of the United States." (17)

      This legislative action was complemented by two legal developments. In 1989, the
      Department of Justice Office of Legal Counsel opined that the Posse Comitatus Act does
      not have extraterritorial application, allowing the military to arrest drug traffickers and
      other fugitives outside of US territory and to do so without host country consent. About a
      year later, the US Supreme Court found that the Fourth Amendment did not have
      extraterritorial application either, meaning that US law enforcement agents conducting
      searches and seizures abroad could do so without the search warrants required for
      domestic operations. (18)

      Some critics warned that extending law enforcement powers to the military would create
      foreign policy and international law problems, but the loudest protests came from civil
      libertarians worried about the domestic implications. From the Whiskey Rebellion to the
      Vietnam-era, anti-war protests l70 years later, the history of the use of the US armed
      forces for law enforcement functions has raised concerns, as such efforts "often end in the
      violation of both the civil and legal rights of US citizens." (19) The recent killing of a
      teen-ager in Texas by a US marine patrolling the border on a drug-surveillance mission
      (described in greater detail below) has reignited these concerns.

      Even before the Supreme Court's ruling, President Bush sought to take advantage of the
      military's enhanced overseas law enforcement powers in staging Operation Just Cause,
      the December 1989 US invasion of Panama. At the time, he released a memo stating, "I
      hereby direct and authorize the units of the Armed Forces of the United States to
      apprehend General Manuel Noriega and any other persons in Panama currently under
      indictment in the United States for drug-related offense." Bush also authorized US
      military personnel to "detain and arrest" anyone who in their judgment warranted such
      action. (20)
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      Nevertheless, while congressional amendment of the Posse Comitatus Act and other
      actions were designed to cure military commanders of their reluctance to enlist in the
      drug war, two other events played a more significant role in eventually leading them to
      accept, if not embrace, their new mission: the crumbling of the Soviet bloc and the Iraqi
      invasion of Kuwait.

      The demise of the "evil empire" knocked communism from its long-unchallenged
      position at the top of the list of US national security threats. As they approached the end
      of the 1980s, military commanders began searching for a new "enemy" to replace the one
      that provided the unquestioned rationale for decades of increased military spending. Gen.
      Maxwell Thurman, then-commander-in-chief of the US Southern Command, or
      SOUTHCOM, expressed the feeling of many of his military colleagues who saw their
      raison d'etre thrown into question. In a widely quoted 1990 assessment of the drug war, he
      said it "is the only war we've got."

      Threats to slash budgets - in November 1989, Secretary of Defense Dick Cheney
      announced plans to trim military spending by $180 billion over five years - caused many
      officials to abandon military-based objections to participation in the drug war for a
      protect-my-turf bureaucratic mind set, under which they would accept the new mission as
      long as it kept funds flowing. "If there is money in it," one former Navy official explained
      succinctly, "the military will perform the mission." (21)

      As congressional funding for the Pentagon's participation in the drug war increased
      dramatically in the late 1980s, anti-drug activity was routinely invoked to justify military
      programs and budget proposals. In one of the more extreme examples, the Navy lauded
      its nuclear-missile equipped Trident submarine for its value as a drug trafficking
      deterrent. (22) In its study of DOD counternarcotics programs from FY1989 to FY1991,
      the General Accounting Office (GAO), the oversight and investigative arm of Congress,
      raised concerns that "some organizations" viewed the new mission solely as a funding
      source and "attempted to obtain funding for long-standing, unfunded requirements under
      the counternarcotics program." Among the culprits identified by the GAO were the Air
      Force and Navy, as both services sought funding for over-the-horizon radars that had been
      "originally justified as general air defense requirements and whose contribution to
      counternarcotics detection and monitoring operations had been questioned, even within
      DOD." (23)

      One of the assumptions that drove efforts to make DOD the lead agency in detecting drug
      smugglers was that the Pentagon's long experience in monitoring the skies and waters for
      incoming Soviet and other hostile aircraft allowed it to develop exceptional technical
      capabilities. The Persian Gulf war in early 1991 gave this argument greater currency
      because it "demonstrated that the US military's ability to use integrated satellite, radar,
      and communications technology may be unsurpassed." (24) After their detection and
      monitoring technology was proven successful against Iraqi forces, military planners were
      eager to deploy it against another foe; drug traffickers were the most available one. Such a
      deployment was made even more attractive by the fact that it would be relatively
      inexpensive, since it would utilize much of the DOD's existing human and material
      resources.

      DOD acceptance of its new mission was facilitated also by a change in its leadership.
      When first named Secretary of Defense, Dick Cheney echoed the concerns his
      predecessors had expressed about widening the military's involvement in the drug war.
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      But by September 1989, he had changed his tune and declared that "detecting and
      countering" drug production and trafficking was a "high-priority, national security
      mission." (25) This switch, which ended the Pentagon's rear-guard resistance, could be
      attributed to the fact that Cheney was a former congressman, and, as such, was more
      responsive to the political pressures that drive US drug policy. Regardless of what caused
      his conversion, Cheney became a leading advocate of DOD's counternarcotics mission as
      put forward in the 1989 NDAA and President Bush's Andean Initiative.

      III. Metamorphosis of a Mission

      Even before Congress approved supporting legislation, Cheney directed the commanders-
      in-chief (CINCs) of the relevant military commands - Atlantic Command (ACOM),
      Pacific Command (PACOM), North American Aerospace Defense Command (NORAD),
      Southern Command (SOUTHCOM), and Forces Command (FORSCOM) - to develop
      campaign plans to carry out the anti-drug mission within the parameters set by the White
      House's counternarcotics strategy. (26) In March 1990, the Pentagon announced that the
      administration had approved in final form the plans the submitted by the five CINCs.
      While the Atlantic, Pacific and Forces Commands established joint task forces to conduct
      their operations - these would later evolve into joint interagency task forces (JITFs) -
      NORAD and SOUTHCOM integrated the new mission into existing structures. Of the
      unified commands, SOUTHCOM, ACOM, and FORSCOM were the ones to become
      most deeply involved in carrying out the Pentagon's counternarcotics mission (see
      Appendix A).

      Headquartered in Panama, SOUTHCOM became the center of anti-drug efforts. Its area
      of responsibility (AOR), which includes the countries that produce all the cocaine
      imported into the United States, made it the natural launching pad of the Andean strategy.
      Because DOD is the lead agency for detecting and monitoring drug flows, ACOM also
      was positioned to play an important role, as its AOR at that time encompassed the
      Atlantic Ocean, Gulf of Mexico, Caribbean Sea, and parts of the eastern Pacific Ocean.
      (27) FORSCOM, based at Fort Bliss, Texas, coordinates Army forces within the United
      States, and, as such, its plan focused on supporting domestic counter-drug efforts along
      the 2,000-mile border with Mexico.

      Cheney's zeal to produce an antinarcotics plan as quickly as possible created problems
      with mission definition and coordination that hamper DOD to this day. The CINCs were
      given less than two months to submit their plans and requirements to the Joint Chiefs of
      Staff. According to a GAO study, without adequate time to thoroughly study the drug
      trafficking threat in their area of operations, they submitted plans that "were based largely
      on the subjective judgment of their commanders and staff officers who had only limited
      knowledge of counternarcotics issues." (28) It was not until May 1991, more than two
      years after being assigned its new mission, that DOD planners had developed a national
      assessment of the overall cocaine trafficking threat on which to base their
      counternarcotics program requirements.

      SOUTHCOM was far ahead of its colleagues, as it had long been the most enthusiastic
      advocate of deepening the military's role in combating drug trafficking. Its leaders
      believed that the new anti-drug mission converged with their previous roles and
      assignments, principally aimed at countering "Marxist" insurgencies. From the early
      1980s, SOUTHCOM officials raised concerns about drug trafficking in the region
      because of its perceived relationship to guerrilla movements. For them, shifting US
      military posture in Latin America from the Cold War to the drug war would be easy
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      because the new enemy, as defined by the narcoguerrilla theory, included many old foes
      and it would allow US military personnel to employ the same tactics that they had used in
      fighting communism. They also argued that the drug war, particularly the Andean
      strategy, dovetailed with another important post-Cold War objective in the hemisphere:
      maintaining and strengthening bilateral relations and influence with the region's
      militaries.

      Following the 1989 invasion of Panama, then-SOUTHCOM Commander Gen. Thurman
      directed his troops to make counternarcotics efforts their "number one priority," and, in
      organizing the command around its new mission, he established a Counternarcotics
      Operations Center, which reportedly drew on the command's best and brightest officers.
      Thurman also called on a variety of agencies - including the military's Center for Low-
      Intensity Conflict (CLIC) and US embassies in the region - to assist in planning anti-drug
      activities in the Andes. At the time, State Department officials acknowledged that
      SOUTHCOM "jump started" the counternarcotics effort, and one Washington analyst
      familiar with SOUTHCOM described the drug mission as a "shark's mouth devouring
      everything." (29)

      Although US military personnel had been involved in training and transporting foreign
      antinarcotics personnel outside the country since 1983, the Andean strategy opened the
      door to an expansion of these roles in Peru, Bolivia, and Colombia. Congress supported
      US military involvement by increasing the levels of resources and personnel available for
      these tasks. The stated goals of the strategy were to strengthen the political will and
      institutional capabilities of the Andean governments to combat drugs, increase the
      effectiveness of local law enforcement and military anti-drug activities, and work with
      these countries to disrupt and dismantle drug trafficking organizations. The fourth
      principal objective - one that was added almost as an afterthought - was to strengthen and
      diversify the legitimate economies of these three countries so that they could overcome
      the destabilizing effect of eliminating cocaine as a major source of income.

      Bush administration officials rejected assertions that the Andean Initiative was a cover for
      assisting counterinsurgency efforts in the region, stressing that US military personnel
      were serving in an advisory capacity and were restricted from participating directly in
      counter-drug operations. But the ties between the two operations are undeniable, as the
      military component of the Andean strategy was historically, doctrinally, and operationally
      linked to US counterinsurgency strategy - as evident in the narcoguerrilla theory put
      forward by administration officials. (30) In 1990, the now-defunct CLIC, a joint Army-
      Air Force operation based at Langley Air Force Base, Virginia, formally identified
      counternarcotics as a low-intensity conflict (LIC) mission and one the that overlaps with
      other LIC operational categories, including counterterrorism and counterinsurgency.

      The movement of the DOD Coordinator for Drug Enforcement Policy and Support within
      the Pentagon bureaucratic structure reinforces the view of counter-drug operations as the
      latest LIC mission. With the enactment of the FY1989 NDAA, the position of drug policy
      coordinator was established in the Office of the Assistant Secretary of Defense for Force
      Management and Personnel. The post was then shifted to the Office of the Assistant
      Secretary of Defense for Reserve Affairs, before eventually being placed in its current
      location in the Office of the Assistant Secretary of Defense for Special Operations and
      Low-Intensity Conflict.

      IV. Aiding Latin American Security Forces
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      As has traditionally been the case in US-supported counterinsurgency efforts, the primary
      tool for US forces waging the drug war abroad is "security assistance," which can include
      economic assistance, training, intelligence support, equipment transfer and maintenance
      support, and providing advice. (Channeled through the US Department of State, this
      assistance is over and above the Pentagon's own antinarcotics budget, which is a separate
      account.) Currently, the United States annually pumps more than $100 million in
      counternarcotics assistance into Latin America, most of it in the form of military
      equipment, services and training. International counternarcotics programs are one of the
      few areas of growth in US foreign assistance, and an increasing percentage of this aid is
      being earmarked for Latin America (see Charts 1 and 2).




      According to the State Department's Bureau of International Narcotics and Law
      Enforcement Affairs (INL), which coordinates all drug-related US aid, of the $213 million
      budgeted for in-country narcotics programs in FY1997, $116.2 million will go directly to
      Latin America, an increase of more than 40 percent over 1996. (By comparison, the rest
      of the world - Asia/Africa/Europe - is slated to receive only $18.9 million. The remaining
      funds are for regional programs, which are primarily oriented toward Latin America.) For
      FY1998, INL has earmarked $132.7 million for Latin America, of the $230 million
      requested for international drug control programs. (31) (It is difficult to determine what
      percentage of this aid is destined for military forces and how much will be going to law
      enforcement because of the administration's decision to consolidate international
      counternarcotics assistance into a single account.)
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      Traditionally, foreign security assistance has taken the form of Foreign Military Financing
      (FMF) and Economic Support Fund (ESF) grants under the Foreign Assistance Act of
      1961, but the end of the Cold War and concerns about the federal budget deficit resulted
      in reduced appropriations for these forms of security assistance. To fill the void,
      Washington has turned to surplus US weapons stocks, using the Pentagon's Excess
      Defense Articles (EDA) program, which was established in 1976, and the President's
      special "drawdown" authority to provide assistance to Latin America.

      The Foreign Assistance Act was amended by Congress in 1989 to permit EDA transfers to
      Latin American and Caribbean nations for counternarcotics purposes, provided that the
      countries have democratic governments and armed forces that "do not engage in a
      consistent pattern of gross violations of internationally recognized human rights."
      Originally, the new Section 517 also required the recipient government to certify that the
      military equipment, the bulk of which is provided through grants, would be used "only"
      for counternarcotics purposes, rather than to counter political insurgents, but in 1990
      Congress "changed this restriction from 'only' to 'primarily,' apparently because the
      former requirement was not being met." (32)

      Although EDA transfers under Section 517 are limited to $10 million per country per
      year, congressional investigators have found that the Pentagon routinely underestimates
      the original acquisition value of the equipment on which this limit is based. A study by the
      Arms Sales Monitoring Project of the Federation of American Scientists revealed that
      between 1990 and 1995 Colombia "has been by far the leading recipient of excess
      weaponry under this provision of the law," receiving 32 UH-1 Huey helicopters and
      dozens of other aircraft, as well as more than 30 landing craft and patrol boats. During the
      same period, Mexico received 50,000 M-1 carbines and two cutters, while Peru was given
      11 attack aircraft. (33)

      Millions of dollars in military equipment, services and training are pumped into the
      region for counternarcotics purposes directly by the President through use of his special
      drawdown authority. Section 506 of the Foreign Assistance Act provides the President
      authority to transfer up to $150 million of excess US defense articles annually to meet
      "unforeseen" emergencies that cannot be met through other aid channels, if he determines
      that doing so is "in the national interest of the United States." On September 30, 1996,
      President Clinton determined it would be in the US national interest to draw down up to
      $112 million of articles, services and military education and training from Defense
      Department inventories to provide antinarcotics assistance to Peru, Colombia, Venezuela,
      Mexico, and the seven countries of the Eastern Caribbean Regional Security System.

      Although surplus weapons transfers now constitute a major source of security assistance,
      including counternarcotics aid, they are not subject to the same level of congressional
      oversight as other forms of assistance. Unlike the FMF, ESF and International Military
      Education and Training funds, the full Congress never debates and votes on surplus grants
      or drawdowns. The executive branch is required to notify Congress of proposed transfers,
      but in most cases not the actual deliveries. Congress is only given composite information
      on transfers "well after the fact," in the following year's budget justification documents,
      but, even then, "the executive branch provides no single accounting of all the various
      channels for surplus arms transfers." (34) As a result, complete statistics are not compiled
      of the total value of US assistance provided to date to Latin American security forces for
      antinarcotics purposes.

      To maintain and operate equipment provided, particularly aircraft, Washington often
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      contracts private, US firms claiming that the host country lacks the necessary pilots,
      mechanics, and other trained personnel. In November 1996, six contracted pilots working
      for a Virginia-based firm, Dyncorp, which also supplied "fewer than a dozen" technicians
      and mechanics, began flying high-risk, drug-eradication missions in Colombia. (35)
      When a US pilot died in a crash in a remote jungle region in early January, it was first
      thought that he may have been shot down by well-armed guerrillas operating the area;
      Colombian police, however, eventually attributed the crash to pilot error.

      V. Training Latin American Security Forces

      The provision of these different forms of security assistance is accompanied by training
      and other forms of support provided directly by the US military. A key component of
      SOUTHCOM's advisory function is its Tactical Analysis Teams (TATs), which are made
      up of a small number of US Special Forces and military intelligence personnel. The
      teams, whose size and exact mission vary from country to country, pull together
      intelligence from human and technical sources to select targets and plan operations to be
      carried out by host nation military and police forces and US DEA agents. "The TATs," one
      early participant explained, "are the focal point where the 'rubber' (intelligence support)
      meets the 'road' (counter-drug operations)." (36) While TATs determine collection
      priorities and act as data managers, they do not conduct intelligence collection operations.

      These activities, like the counter-drug operations they support, are carried out by the DEA
      - to which the TATs serve as an "adjunct" - and other US and host-nation agencies. (37)
      After the first two TATs established in Peru and Bolivia in 1989 proved successful in the
      eyes of US military planners, (38) their number rapidly expanded. By late 1994, there
      were ten teams, supporting counter-drug operations in Bolivia (two), Peru, Colombia,
      Ecuador, Paraguay, Venezuela, Panama, Guatemala, and Honduras. (39) In mid-February
      1997, the number stood at 14, with three countries hosting two teams - Colombia,
      Ecuador, and Brazil - and single teams in eight other countries - Belize, Guatemala, El
      Salvador, Honduras, Panama, Venezuela, Peru, and Bolivia (see Table 1). (40)

      As the TATs evolved, they began to integrate tactical operations into an overall strategy to
      attack drug trafficking organizations, with the goal of establishing evidentiary links
      between raided cocaine labs and other individuals in the organization. "The optimum
      scenario is a 'full court press' on all trafficking organization members and critical nodes to
      completely disrupt or destroy their production and shipping capabilities." (41) And, the
      host nation's ability to execute this highly desired "full court press" is being enhanced by
      Special Forces trainers who provide in-country instruction in "drug interdiction and
      search-and-destroy techniques." (42)

      US training teams typically are composed of six Navy Seal and Army Green Beret
      officers who spend about three weeks in country providing instruction, but they can be as
      small as a single officer or as large as an entire platoon, 20 to 30 people. A vital part of
      their instruction, US officials stress, is human rights training. However, training is
      provided regardless of the human rights record and political will for human rights-related
      reforms exhibited by recipient forces. For FY1997, SOUTHCOM is planning a total of 37
      training deployments - 11 to Ecuador, nine to Venezuela, six each to Peru and Bolivia, and
      five to Colombia - that will involve 633 personnel. (43)

      Operational tactics are only a small piece of the counter-drug training support that US
      teams provide, according to Pentagon drug czar Brian Sheridan, who touts in-country
      instructions as the "best type" because troops are "being trained on their home court." He
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      points out that the number of host-nation military and police personnel who receive
      operational field training is limited by the fact that counter-drug operations typically are
      conducted by small units. As such, instruction in operational tactics is given to "only 40 to
      60 guys at a time." Many more people receive "technical training" involving instruction in
      the use and maintenance of equipment and skills such as marine navigation. (44)

      In-country training is supplemented by instruction at US military facilities, including the
      Naval Small Craft Instruction and Technical Training School at Rodman Naval Station in
      Panama, where Latin American military forces receive instruction in riverine operations
      and small-craft maintenance, according to former SOUTHCOM Commander, Gen. Clark.
      US allies also receive training applicable to counter-drug operations at the Army's Jungle
      Operations Training Center at Fort Clayton, Panama, the only US facility of its kind. (45)

      Among the US-based facilities used for counternarcotics instruction is the School of the
      Americas (SOA) at Fort Benning, Georgia, which last year was rocked by revelations that
      as recently as 1991, it used manuals that advocated torture and murder of political
      opponents. The SOA, the Pentagon's longtime favorite training ground for Latin
      American troops, currently offers officers an 11-week course that provides instruction in
      planning, leading, and executing drug interdiction operations, including weapons,
      infiltration, and surveillance techniques; patrolling; demolition; and close-quarters
      combat. In FY1995, 50 junior and mid-level officers attended this course, while 50 cadets
      attended a four-week course that provided a basic introduction to tactics and techniques
      used in counter-drug operations. (46)

      Counternarcotics training, whether conducted in-country or at US facilities, is viewed by
      many Pentagon officials as an important opportunity to foster closer ties with the region's
      armed forces, one the key goals of DOD's post-Cold War strategy for the hemisphere. A
      case in point is the current training being provided to Mexican troops, who were called in
      to fill the void created in 1996 by the dismissal of some 800 federal police officers for
      ethical breaches. Before the Pentagon began providing counter-drug training to Mexico's
      military, "essentially we had no relations with them," Sheridan said. "The idea of building
      military-to-military relations is very important." (47)

      US officials insist that corruption among the Mexican police mandates a military
      response. Yet in bringing in the military, the US may be setting in motion a trend that will
      be difficult, if not impossible, to reverse of increasing Mexican military involvement in
      domestic political matters. Mexico's military now commands police forces in two-thirds
      of the states, looking for drug traffickers, patrolling Mexico City streets, directing traffic
      and combating petty crime. By encouraging the militarization of Mexican society in the
      interest of combating narcotics, the United States undermines its own long-term goal of a
      stable civilian democratic regime in Mexico. Nor is there any evidence that the Mexican
      military is less susceptible to corruption than the police; they are, however, less
      transparent and accountable, making corruption even more difficult to rout out. Mexican
      analysts and human rights activists argue that the Clinton administration should redirect
      resources toward building strong civilian judicial institutions in Mexico and other
      countries.

      Human rights groups point to a number of other inherent problems with US military
      counternarcotics training programs. The jungle warfare-type training that the US military
      is providing to Latin American security forces is not well-suited for drug control efforts,
      which should be oriented toward sound investigations and criminal prosecutions.
      Moreover, the law enforcement training that does take place would be more appropriately
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      carried out by law enforcement agencies. It is deeply disturbing, for example, that the US
      military is training local forces in surveillance tactics to be used on their own citizens,
      given the way in which such practices have been used historically to systematically
      violate basic human rights. Moreover, the United States is aiding and training troops
      within whose ranks are some of the worst human rights violators in the hemisphere at the
      present time - in countries such as Colombia and Mexico - without first insisting on
      fundamental reforms to ensure significant reductions in human rights violations and
      effective prosecutions of those responsible.

      Also of deep concern, by the early 1990s - with the authority, equipment, and funding to
      plan operations, bolster host nation forces and transport these personnel to the front - US
      military forces appeared to be perilously close to a direct combat role in the war against
      the South American drug cartels and, at least indirectly, insurgencies. Bush administration
      officials strenuously denied that US forces had a direct role in drug arrests and seizures,
      but "US Army special operation forces boast[ed] they [were] on the front line in the war
      on drugs," according to an analyst at the Washington, D.C.-based Center for Defense
      Information. (48) DOD's Sheridan insists that most of these statements are being
      generated by Special Forces personnel who tend to enlist in the military for "high
      adventure," and he dismisses all such claims as "bravado which is not uncommon among
      people in that line of work." In all deployment orders for units assigned to counter-drug
      work in Latinamerica, he stresses, it is made clear that, while US troops may work with
      host-nation forces, they "will not accompany them on operations." (49) Nonetheless,
      reports of US forces fighting at the front line persist today, raising questions about both
      national sovereignty and the potential US response to casualties.

      Drug traffickers and guerrilla forces are not the only ones who pose a danger to US
      military personnel on the ground in the region. One Green Beret master sergeant
      complained that distinguishing between drug traffickers, guerrilla forces, "and sometimes
      even hostile host forces," is so difficult that "it's very hard to keep up with who's trying to
      blow you away." (50) The danger posed by the uncertainty of who your enemies and
      allies are was driven home to US officials in April 1992, when a US Air Force sergeant
      was killed after being sucked out of a C-130H aircraft at 18,500 feet, through a hole
      blown in the spy plane by Peruvian jet fighters. The 13-member crew, operating out of
      Howard Air Force Base in Panama, was secretly photographing cocaine labs and airstrips
      in the Upper Huallaga Valley - it "never trusted the Peruvian military" - when their
      aircraft was attacked. In addition to the one US airman killed, four others were injured by
      the Peruvians, who later were awarded commendations from their government for their
      actions. (51)

      VI. Controversy on Capitol Hill

      The provision of security assistance and training to Latin American forces has proven to
      be one of the most problematic aspects of the Andean strategy, and on Capitol Hill it
      remains one of the most contentious aspects of US counter-drug policy in Latin America.
      Congressional concerns have focused on two issues: end-use monitoring and preventing
      antinarcotics assistance from being diverted to counterinsurgency uses and contributing to
      human rights violations. In addressing these concerns, legislators have mandated a range
      of conditions on US antinarcotics assistance at different point in time.

      Government investigations have given credence to these concerns. "The executive branch
      does not have the oversight needed to ensure that military aid will be used as intended or
      in the most efficient and effective manner," the GAO said in a 1991 report on US counter-
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      drug programs in Peru. (52) Even though it concurred with the reasoning behind the
      policy of use flexibility, the GAO decried the lack of monitoring, arguing, "Stringent end-
      use monitoring of any military assistance provided will be required because of Peru's
      corruption and its poor human rights record." The agency noted that US military officials
      warned that Peru's military "would attempt to use US aid for counterinsurgency missions
      unless the aid was closely monitored." (53)

      Similar concerns about US military aid to Colombia were expressed by the GAO in a
      another report issued that same year. Top Defense and State Departments officials in the
      US Embassy assured the agency's investigators that "the United States will not tolerate
      the aid being used under the guise of counternarcotics to fight insurgents and kill innocent
      civilians." (54) Nevertheless, the GAO reported, "The State and Defense Departments had
      not developed policies or procedures for monitoring counternarcotics assistance to
      Colombia's military." (55)

      In 1993, the GAO issued another study on Colombia's counter-drug efforts in which it
      reported continued problems with end-use monitoring of US-provided military
      equipment. At that time, GAO investigators also criticized the State and Defense
      Departments for failing to coordinate their aid programs with each other "to ensure that
      equipment is provided in an efficient and effective manner." This lack of coordination
      resulted in the Colombian military receiving equipment it could not use, including
      machine gun ammunition that was not compatible with the aircraft guns it was to be used
      for and rockets that could not be fired properly because of faulty launcher motors." (56)

       Four years later, end-use monitoring remains a serious impediment to US
      counternarcotics operations, according to the GAO's February 1997 report.
      Various forms of human rights conditionality have been placed on security-related
      antinarcotics assistance over the years. The most recent conditions for receiving
      antinarcotics aid are in an amendment to the law appropriating foreign aid for FY1997. It
      stipulates that no antinarcotics assistance can be "provided to any unit of the security
      forces of a foreign country if the Secretary of State has credible evidence to believe such
      unit has committed gross violations of human rights unless the Secretary determines...that
      the government of such country is taking steps to bring the responsible members of the
      security forces unit to justice." The Clinton administration has stated its intention to apply
      this human rights conditionality to all security assistance provided for antinarcotics
      purposes, including that provided through EDA and drawdown authority.

      Shortly after this amendment became law, information released by Amnesty International
      USA and Human Rights Watch/Americas drove home the importance of the legislation.
      Documents obtained from the US Embassy in Colombia confirmed that in the early
      1990s, the US provided assistance to units of the Colombian armed forces implicated in
      some of the worst human rights atrocities committed at that time. In fact, the legislation
      has caused a furor with regards to aid to Colombia. Throughout the first half of 1997, the
      Colombian army - slated to receive US military aid in 1997 for the first time in several
      years - refused to sign an agreement pledging to abide by the amendment. On May 7,
      1997, the US Ambassador to Colombia told WOLA that "the Colombian army will not get
      any equipment based on its attitude so far." He also admitted that "we will never be able
      to say for certain how US assistance is being used." Nonetheless, on August 1, 1997 the
      US government announced that an agreement had been signed between the US and
      Colombian government in which the latter agrees to abide by Washington's human rights
      requirements, thereby allowing the aid to the army to go forward. Many questions remain,
      however, as to what mechanisms will be put in place to ensure compliance.
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      VII. Detection and Monitoring: The Pentagon's Meat and Potatoes

      The controversies on Capitol Hill surrounding the Andean strategy belied the fact that it
      was just a small part of the US government's international drug-control program. The
      flow of US military personnel and equipment to the Andean region drew much attention,
      but it was mere trickle compared to the resources the Pentagon was spending on its
      congressionally mandated role as the lead US agency for the detection and monitoring of
      air and maritime shipments of illegal drugs into the United States. This surveillance
      function (58) consumed, by far, the greatest amount of DOD counter-drug resources (see
      Table 2). And while the detection and monitoring mission stretched from the source
      countries to the US border, efforts were concentrated in the drug transit zone
      encompassing the Caribbean and eastern Pacific. (59) Moreover, as the Andean strategy
      failed to achieve its desired results, the Bush administration pointed increasingly to transit
      country interdiction as the panacea for the nation's drug problems.

      Carrying out detection and monitoring allowed the Pentagon to employ many parts of its
      vast intelligence network. In response to the directives of the FY1989 defense
      appropriations bill, DOD planners decided that the Defense Intelligence Agency (DIA),
      which provides military intelligences and coordinates intelligence activities of the Army,
      Navy, Air Force, and Marines, would "concentrate on developing the necessary data
      bases, automation, communications, and collection management necessary to improve the
      foreign intelligence contribution." Emphasis was placed on supporting the DOD's role as
      the lead agency for the detection and monitoring of drug trafficking outside of the United
      States, and DIA analysts were also tasked with "identifying the overall structure" of the
      Latin American narcotics trade." (60) Although the Pentagon maintains the largest
      intelligence network among US agencies, the DEA and, more importantly, the Central
      Intelligence Agency (CIA) are also mandated to play a key role in compiling intelligence
      for the drug war.

      Until DOD was mandated the lead agency for drug surveillance, detection and monitoring
      of drug trafficking was sporadic, as the civilian agencies that had been charged previously
      with the task lacked the aircraft and ships needed for continuous surveillance. The
      Pentagon, however, was able to supply the resources necessary to conduct near
      continuous surveillance of the primary trafficking routes. Using ground-based and
      aerostat (tethered balloon) radars, airborne early warning aircraft, and radar-equipped
      ships, DOD sought to layer fixed and mobile radars as close as possible to source
      countries.

      The personnel and equipment resources required to conduct this mission were enormous.
      As a commander of one of the regional joint task forces assigned to this mission told the
      Senate Armed Services Committee in March 1992:

      "Our level of effort is substantial. On any day of the year, 24 hours a day, we have about
      nine ships, 22 aircraft...and 3,000 military personnel deployed in the theater. We use about
      4,000 ship days and 38,000 flight hours. To put that in perspective, for you, that is about
      the equivalent that we would have expended over a year on the Sixth Fleet deployment in
      the Mediterranean - a substantial commitment." (61)

      The financial commitment was staggering, largely because state-of-the-art military
      surveillance is inherently expensive. The assets being used for the detection and
      monitoring mission were extraordinarily costly to operate and maintain. The Air Forces's
      E-3 Airborne Warning and Control System (AWACS), for example, had an estimated
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      direct operating cost of $4,200 per hour and associated overhead ran this cost to almost
      $10,000. (62)

      Beginning at $212 million in 1989, DOD's detection and monitoring budget mushroomed
      to more than $950 million in 1992, the peak year for spending on this program. During
      that same period, the Pentagon's overall spending on its counternarcotics mission jumped
      from $501.6 million to $1.14 billion. Spending on surveillance grew rapidly, as the GAO
      pointed out, "despite the lack of clear-cut objectives." As a result, the eventual cost of the
      program grew "out of proportion to the benefits it provide[d]." (63)

      DOD's inventory of radar-equipped ships and aircraft was a major reason for giving the
      Pentagon the lead detection and monitoring role, but it soon discovered that many of these
      assets were intrinsically ineffective in combating the drug smuggling threat. As the GAO
      pointed out in a scathing 1993 report, "Sensors designed to detect large supersonic aircraft
      and nuclear-powered submarines are less proficient against low-flying planes and small
      wooden boats." Agency investigators reported that these problems were exacerbated by
      the "absence of intelligence tips" necessary to sort out smugglers from the considerable
      legitimate maritime traffick heading toward the United States. (64) Moreover, drug
      traffickers quickly adopted new tactics and routes - as interdiction efforts in the Caribbean
      intensified, other US agencies reported that the bulk of cocaine traffic entering the United
      States began coming overland through Mexico. Yet DOD continued to expand air and
      maritime surveillance.

      Before DOD stepped up its surveillance efforts, researchers at the Rand Corporation -
      questioning the assumptions underlying the supply-side approach to drug control -
      cautioned the Pentagon that "a major increase in military support is unlikely to
      significantly reduce drug consumption in the United States" due to the profit structure of
      drug trafficking. Their conclusion was driven by estimates that "only about 10 percent of
      the final price of cocaine comes from smuggling costs and profits." (65) As such, drug
      traffickers could cover losses incurred as a result of interdiction without having to raise
      the consumer price of their product, contradicting the premise that increased interdiction
      leads to higher prices which lead to lower demand, the reasoning cited most frequently by
      interdiction advocates.

      DOD's drug surveillance activities illustrate a critical point about the war on drugs -
      performance and effectiveness are not synonymous. It is a distinction that advocates of
      further militarization still do not make, allowing them to declare small, tactical successes
      "victories," even though they contribute little, if anything, to the ultimate objective of the
      drug war - reducing domestic drug use. Pentagon officials frequently cite such indicators
      as their high level of effort, praise from their colleagues in law enforcement, and
      increasing drug seizures and arrests. But, the level of effort is an indication of their
      commitment to the mission, not its success. Neither are increased arrest and drug seizures
      accurate measures of effectiveness, because they may reflect increases in drug trafficking,
      rather than an actual reduction in drug availability.

      VIII. Source Country Shift

      Congress began cutting funds for DOD's detection and monitoring mission in 1993,
      trimming more than $110 million from the previous year's record level of spending $962
      million. But it was a decision by President Clinton late that year that resulted in a drastic
      reduction in detection and monitoring funding and another shift in the focus of the
      Clinton administration's drug control strategy for Latin America and the Caribbean.
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      Following a seven-month review of the US counter-drug strategy completed in November
      1993, Clinton issued a Presidential Decision Directive (PDD-14) that shifted the emphasis
      from the interdiction of cocaine as it moved through the transit zones to stopping it at its
      source in Bolivia, Colombia, and Peru.

      Despite the steady increase in coca production since the Andean strategy was launched,
      the Clinton administration refocused anti-drug efforts on coca plants, the leaves of which
      are mixed with chemicals to make cocaine. Because fewer alternatives exist for growing
      coca than for any other link in the drug trafficking chain, argues Robert E. Brown, Office
      of National Drug Control Policy (ONDCP) deputy director for supply reduction, source
      country operations should focus more on crop eradication and substitution programs than
      on the disruption of processing and transportation. (66) ONDCP recently announced its
      intention to eliminate worldwide coca production within ten years, a laughable
      proposition at best and an invitation to direct US intervention in coca-growing regions at
      worst.

      Coca substitution programs are expensive, and Brown and other US officials
      acknowledge that because Washington is unable to pay the tab it is encouraging its Latin
      American allies, most of whom have other development priorities, to seek assistance for
      crop substitution programs from multilateral institutions. The ability of these institutions
      to shoulder the burden is also questionable. The annual budget of the United Nations
      Drug Control Program (UNDCP), for example, is about $70 million, or about half of the
      State Department's international narcotics funding in FY1996. In 1995, UNDCP could
      provide just $2.2 million in supplemental funding to Peru, compared to an estimated $15
      million provided by Washington. (67)

      The Clinton administration's announced shift in strategy touched off a battle between the
      Republican-controlled Congress and the White House over US drug control policy, which
      reached a fevered pitch in 1996, an election year, and still rages today. Republicans seek
      to blame the increasing flow of cocaine into the country on the President's decision to
      reduce transit zone interdiction efforts. Clinton administration officials counter by arguing
      that Congress cut back funding for interdiction faster than the White House had originally
      proposed, while failing to provide the full funding requested for source country programs.

      As DOD funding for counternarcotics activities in the transit zone fell from a high of
      $504.5 million in FY1992 to $214.7 million in FY1995, source country funding grew
      during the same period but at a considerably slower rate, rising from $120.7 million to
      $153.3 million. But even with the change in US strategy, total funding for source country
      programs - including DOD, DEA, Customs Service, and State - fell by $35.8 million
      between FY1992 and FY1995. And, at $230 million, the 1995 total was less than half the
      total amount being spent in the interdiction zones. This reflected congressional cuts in the
      overall budgets of all the agencies involved.

      To accommodate the reduction in transit zone funding, between December 1994 and
      November 1995, the Pentagon deactivated three aerostat radars in the Bahamas, two
      Caribbean Basin Radar Network sites, two mobile tactical radars, and other equipment.
      Even though the Pentagon brought on line two relocatable over the horizon radars
      (ROTHRs) in Virginia and Texas, the cutbacks resulted in a significant reduction in US
      surveillance capabilities in the Caribbean and Gulf of Mexico. The number of ship days
      devoted to drug interdiction also declined, falling from a high of 4,448 in 1993 to 2,845
      two years later (68) (see Table 2).
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      The Clinton administration has attempted to offset transit zone funding cuts by
      encouraging greater cooperation from its Caribbean allies, but it efforts have been met
      with strong resistance from leaders concerned about a further erosion of their national
      sovereignty. Although Trinidad and Tobago quickly agreed to a "hot pursuit" treaty,
      Barbados and Jamaica were both strongly opposed to attempts by Washington to forge
      bilateral antinarcotics agreements that would allow US forces to pursue suspected drug
      traffickers within the territorial waters and airspace of another country, and only recently
      signed treaties after intense US pressure. (Barbados has enacted the treaty, but the
      Jamaican Congress has yet to pass enabling legislation.) Regional leaders accused the
      United States of using "unfounded allegations, innuendoes and the threat of punitive
      measures aimed at the economic welfare of Caribbean states" in its efforts to force them
      to provide the carte blanche for hot pursuits. (69)

      At the same time that it was cutting resources dedicated to transit zone interdiction, where
      US efforts are aided by British, French, and Dutch naval forces, the Clinton
      administration sought to strengthen interagency coordination of interdiction efforts. PPD-
      14 ordered a review of the nation's counternarcotics command and control intelligence
      center, leading to the April 1994 creation of several joint interagency task forces (JTIFs)
      made up of representatives from DOD, DEA, Customs, US Coast Guard and other federal
      agencies. The JTIFs, which expanded the idea of the joint task forces (JTFs) that several
      unified commands had established earlier, were set up in five locations: Key West, Florida
      (JIATF-East), where a new, $13.5-million command center was built; Alameda, California
      (JIATF-West); Howard Air Force Base, Panama (JIATF South); March Air Force Base,
      California (Domestic Air Interdiction Coordination Center); and Fort Bliss, Texas, which
      kept its original name, JTF-6.

      Nonetheless, problems persist with coordination between the myriad of government
      agencies involved in overseas antinarcotics efforts. A "lack of coordination and clear
      statements of responsibilities" created confusion among those charged with intelligence
      analysis and related operational plans," one GAO investigator told Congress in June 1995.
      (70) A study conducted by a SOUTHCOM Analytic Support Team was even more
      scathing in its criticism. With the DOD "barely on speaking terms with its number one
      customer - DEA," in many areas of Latin America, the report says, it "is the equivalent of
      two battalions going into combat, with one having the bullets and the other having the
      guns." (71) A former Army intelligence analyst who contributed to the report said the
      problems identified previously "remain unaddressed."(72)

      IX. Attacking the "Air Bridge"
      While the Pentagon continues to spend more money on transit zone interdiction programs
      and assistance to domestic law enforcement agencies, most of DOD's energy, at least in
      terms of public promotion, is now being spent on source country programs, and in
      particular its attack on the so-called "air bridge" that connects coca growers and coca
      paste manufacturers in Peru and Bolivia with Colombian cocaine refiners and distributors.
      (73) The aim is to interdict drugs before they enter the transit zone. By targeting the small
      aircraft that ferry coca paste from Peru and Bolivia to Colombia for refining, US military
      planners argue, coca farmers will no longer be able to get their product to the "market,"
      thus driving down the price paid for coca leaf to growers and forcing them to convert
      their coca fields into farms for more lucrative, licit crops. At the same time, it will drive
      up the cost of transport for Colombian drug traffickers, an increase that will then be
      passed on to US consumers, who will be discouraged from using cocaine by the higher
      price.
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      This strategy temporarily became entangled in a dispute over policies adopted by the
      Peruvian and Colombian governments - with strong US encouragement - to shoot down
      planes of suspected drug traffickers. When Colombia announced in early 1994 that it too,
      like Peru, would adopt a shoot-down policy, some US officials in Washington became
      concerned that the policy would violate international law. After the US Justice
      Department ruled that "US officials who knowingly provide information that leads to the
      shooting down of civilian aircraft could be subject to criminal prosecution," DOD halted
      the sharing of "real-time" aircraft tracking information with Colombia and Peru in May
      1994. (74) Congress responded that fall by providing official immunity for authorized US
      personnel engaging in assisting foreign countries in anti-drug aircraft interdiction as part
      of the FY1995 DO D Authorization Act.

      Freed of legal constraints, the Pentagon began its attack on the air bridge in early 1995 by
      supplying the Peruvian and Colombian armed forces with sophisticated radar and
      surveillance equipment. By October of that year, these efforts had evolved into a formal,
      classified mission dubbed Operation Green Clover, a three-month operation in which
      more than 300 US soldiers, sailors, airmen and Marines worked in tandem with forces
      from Peru, Colombia, Ecuador, Panama, Costa Rica, and Venezuela. "We assist with what
      we call the 'end game,' which is the actual capturing of a plane, but it is the host nations
      themselves that do any chasing or shooting," explained Brig, Gen. George Close,
      SOUTHCOM's Director of Operation, who noted that Green Clover marked "the first
      time that we have had this level of multinational cooperation between allied nations." (75)

      SOUTHCOM officials also point to Green Clover's success in terms of disrupting the air
      bridge, but reports on the extent of this success vary. According to the command's own
      newspaper, Tropic Times, the operation "resulted in the shooting down of 27 drug-
      smuggling aircraft by allied nations" (76) When touting the success of Green Clover three
      months later, then-Secretary of Defense William Perry said, "Twelve drug-smuggling
      aircraft were interdicted or shot down by allied nation forces during the operation." (77)
      (Reports on the daily number of drug trafficking flights between Peru and Colombia vary,
      but Peruvian analysts claim that there are several a day.) Nonetheless, the "superbly
      executed military operation" led to an expansion of the source country strategy, according
      to its self-proclaimed "principal architect," Gen. Barry McCaffrey. (78)

      In April 1996, a month after McCaffrey stepped down as SOUTHCOM's Commander to
      become national drug czar, DOD announced the launch of its successor mission,
      Operation Laser Strike. As part of the on-going operation, US military personnel work
      cooperatively with nine Latin American countries, operating ground-based radar sites,
      flying detection and monitoring aircraft, including C-130 Hercules, P-3 Orion, and E-3
      Sentry AWACS, and providing operation and intelligence support to host nation forces.
      While the air bridge between Peru and Colombia was the sole focus of Green Clover,
      Laser Strike expanded the source country strategy to include operations aimed at
      disrupting the river and coastal smuggling routes developed by drug traffickers as an
      alternative to air transportation in neighboring Ecuador, Venezuela, and Bolivia, as well as
      in Peru and Colombia.

      As of October 1996, McCaffrey told Congress, "on any particular day, there are about 20
      US Coast Guard, Customs, and DOD aircraft involved in source country operations.
      Approximately 300 additional military personnel are deployed in South America
      supporting Operation Laser Strike." (79) The DEA and CIA also assist the operation.
      According to McCaffrey:
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      "The results of this multinational , cooperative effort have yielded stunning tactical
      results. The so-called "air bridge" between Peru and Colombia saw a greater than 50-
      percent temporary reduction of flights as aircraft were intercepted and, in some cases,
      shot down. The cost of shipments increased five-fold, as pilots demanded more money as
      their personal risk increased dramatically. Movement was reduced so dramatically that
      there was a glut of coca base on the market and the price of the product being shipped fell
      by 50 percent overall and as much as 80 percent in some areas." (80)

      In the 12-month period beginning in April 1, 1996, air and ground-based radar used as
      part of Laser Strike tracked 45,000 total aircraft, of which 5,390 were "tracks of interest."
      Of these, only 150 were suspected of being involved in drug trafficking, with 21
      "suspected" planes eventually either forced or shot down - the exact disposition is
      "classified." (81)

      The "success" of the air bridge attacks is touted widely by the Clinton administration,
      even as the flow of drugs into the country continues to rise and South American coca and
      poppy production expand. While acknowledging that these operations have had no impact
      on the availability and price of cocaine in the United States, a high-ranking National
      Security Council (NSC) official still argued that the administration has "been successful
      to an extent that no one has had before." By dramatically reducing the profits from coca
      leaf production, farmers are now "more open" to growing alternative, licit crops, he
      explained, adding that intelligence reports indicate there has been "significant
      abandonment of coca field in Peru." (82)

      The administration's assertion that coca production in Peru in 1996 fell precipitously - 18
      percent according to its figures - is not in dispute. What is in dispute are the reasons for
      that fall. Coca fields continue to be abandoned due to the spread of a fungus that has
      plagued coca production in Peru in recent years. (In fact, Peruvian coca farmers have
      been clamoring for years for economic support in order to switch to alternative crops.) In
      addition, Peruvian coca and cocaine base has traditionally been purchased by the Cali
      cartel; hence, coca production in Peru was significantly affected by the Colombian
      government's gains against the Cali cartel, most of whose leadership is now behind bars.
      More important, Colombian drug analysts point out that Colombian traffickers have
      sought to "verticalize" the cocaine industry by eliminating the need to transport a raw
      material, coca or cocaine base, from other countries. As a result, coca production in
      Colombia increased by a whopping 32 percent last year alone, according to the US
      government's own figures. Colombian traffickers are now importing and promoting
      production of the most potent variety of Peruvian coca, from the Tingo Maria region, to
      Colombia. Finally, administration officials themselves note that as a result of the
      "successful" air interdiction program, more cocaine-related products are transported by
      river - hence the need for more resources for greatly expanded riverine interdiction
      programs.

      The GAO has questioned the potential effectiveness of the air bridge strategy, pointing
      out that the Pentagon has failed to evaluate and apply lessons learned from past
      counternarcotics efforts. In a February 1997 report, the GAO claims that this failure is one
      of the long-standing organizational problems that hinder US international efforts. Even
      though the current strategy to attack the Andean "air bridge" is similar to past operations
      in the region, they note, SOUTHCOM personnel admitted that they "were not aware of
      the problems that had been encountered, or of the solutions developed in the early 1990s
      when planning the current operation." This lack of institutional memory was blamed on
      the continual turnover of personnel and the requirement to destroy most classified
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      documents and reports after five years. SOUTHCOM claims to have attempted to resolve
      this problem by instituting a new after-action reporting system; (83) however, the
      underlying problems go well beyond better reporting requirements.

      X. Domestic Duty?

      Source-country programs and transit zone interdiction encompass just three of the five
      "strategic elements" of DOD's current counter-drug strategy - detection and monitoring,
      source country support, and disruption of drug trafficking organizations. Of the remaining
      two elements, it is assistance to domestic law enforcement agencies that consumes the
      most resources, while creating the greatest controversy. (The fifth goal, demand reduction
      within the United States, including the military itself, was allocated $87.8 million in
      FY1997, barely 9 percent of DOD's overall counternarcotics budget.)

      Since the National Guard was first called in to help eradicate marijuana in Hawaii in the
      late 1970s, the military's involvement in domestic counternarcotics work has grown
      dramatically (see Table 3).

      Expansion of the military's domestic role was based on the same premise that fuels the
      expansion of its international anti-drug mission - it had the right personnel and
      equipment. The March 1990 discovery of a tunnel running under the US-Mexico border
      in Douglas, Arizona, is touted by Army officials as a example of how their domestic
      antinarcotics work is a good match of team and task. After Customs officials had been
      frustrated for months in their search, Army personnel, using skills honed in Korea, found
      the tunnel in "only a matter of hours," leading to the seizure of two tons of cocaine and 14
      tons of marijuana. (84)

      US military forces are linked with domestic law enforcement through JTF-6, a component
      of FORSCOM, the command charged with coordinating US Army forces inside the
      United States. Headquartered at Fort Bliss, Texas, just outside El Paso, JTF-6 is at the
      most critical front of the drug war - the 2,000-mile border with Mexico, across which an
      estimated 70 percent of the cocaine enters the country. To promote its partnership with
      civilian forces, JTF-6 circulates to police departments an operation support guide
      "marketing the use of Green Beret units, Navy SEAL teams and Marine reconnaissance
      patrols." (85) Apparently, its personnel are excellent salesmen.

      In 1995, according to The Washington Post, more than 8,000 active-duty and reserve
      military personnel - "a force almost equivalent to an infantry division" - participated in
      754 domestic counter-drug operations, ranging from high-tech monitoring of drug
      smugglers along the border to the translation of telephone conversations garnered by DEA
      eavesdropping. Military personnel also routinely assist domestic law enforcement by
      inspecting airport cargo, tracking money laundering operations, and providing equipment,
      such as high-intensity lights, to disrupt street-level drug trade. (86)

      As with its international counternarcotics operations, the Pentagon says it follows strict
      rules designed to keep its active-duty personnel out of trouble, both physical and legal.
      JTF-6 officials stress that in all cases where "a confrontation with potential smugglers is
      likely" military personnel are accompanied by the law enforcement agency that requested
      their support and they do not participate in any subsequent seizures of arrests.
      Additionally, they say, "care is taken not to maintain intelligence on US citizens." (87)
      The thousands of National Guard troops who assist law enforcement agencies, however,
      have much more latitude in undertaking their mission because they are not covered by
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      Posse Comitatus, unless they are called up for federal duty. As part of its embrace of the
      domestic drug mission, DOD approved the National Guard Bureau's creation of a
      National Interagency Counterdrug Institute in California in 1990.

      The growth in drug-related violence along the US-Mexico border has many people calling
      for active-duty military personnel to be given similar flexibility to that enjoyed by
      National Guard troops. At a July 1996 Senate hearing, a Texas rancher pleaded for federal
      protection against, as one Senator put it, the "heavily armed Mexican drug gangs [that]
      terrorize them in broad daylight." A number of lawmakers responded by indicating they
      might support an increased military presence, including Sen. Dianne Feinstein of
      California, who said she was nearing the opinion that it would take expanded military
      involvement "to stop these incursions" along the border. (88) Such an expansion would
      require further amendment of Posse Comitatus. But, as one JTF-6 official notes, "if
      Congress can authorize military protection of guano deposits - an actual authorized Posse
      Comitatus exception - then permission to accompany law enforcement agents onto private
      land or to give active-duty forces authority to examine inbound cargo is distinctly
      possible." (89)

      Legislation presently pending before the US Congress would do just that. Rep. Jim
      Traficant (D-OH) presented an amendment to DOD's Authorization Act that would
      authorize the Pentagon to send up to 10,000 troops to the border to "assist...in preventing
      the entry of terrorists, drug traffickers and illegal aliens." At the time of this writing, the
      legislation has passed the House of Representatives and is pending in the Senate. If
      passed, Traficant's proposal would dramatically escalate the US military presence along
      the border with Mexico. While at this point it does not look like the amendment will
      survive final passage, Traficant's initiative provides a powerful symbol of the dangers
      inherent in militarizing the drug war and the politics surrounding that militarization.

      Such a development could pose a significant risk for the US population living along the
      border. On May 20, 1997, Esequiel Hernandez Jr. was killed by a US Marine Corps unit
      engaged in anti-drug surveillance along the US-Mexico border. According to press
      reports, the 18-year old US citizen, was a well respected, gentle, studious high school
      student. He was herding goats near his home town when he was stalked and shot, and
      allowed to bleed to death. Hernandez is not implicated in any drug-related crime. The
      marines claim that he fired shots in their direction; he carried an old rifle he inherited
      from his grandfather to protect his goat herd. However, the marines were in camouflage,
      did not identify themselves and the community was not aware of their presence. No
      civilian law enforcement officials were present when the killing occurred. Evidence
      provided in press reports indicate that it was not a typical case of self-defense; a grand
      jury proceeding is about to get underway in the first shooting of a US citizen by a member
      of a military drug-surveillance team.

      "What are these Rules of Engagement?" A local resident asked in response to the official
      response to the killing. "We had no idea we were being engaged in the first place. I was
      amazed when I heard that the military was walking around the hills in our back yard."
      (90) The marines implicated were part of JTF-6, described above, based at Camp
      Pendelton. In response to the killing, and the trial underway, on July 29 the Pentagon
      withdrew indefinitely the 240 military personnel who had been stationed along the 2,000-
      mile border. Pentagon spokesman Kenneth Bacon stated:

      "The entire policy is now under review, and that review has several elements in it. One is
      whether it's appropriate for troops to be involved in border patrol activities. Another is, if
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      it is appropriate for them to be involved in border patrol activities, what are the proper
      operating procedures for them?" (91)

      Critics of military involvement in domestic law enforcement activities point to the risks
      involved in having troops trained in war tactics confronting US citizens in non-wartime
      situations. Even Lt. General Carlton W. Fulford, Commander of the 1st Marine
      Expeditionary Force at Camp Pendelton, admitted, as reported in The Washington Post,
      that "the killing might not have happened had civilian law enforcement agencies patrolled
      the border." (92)

      XI. Looking to the Future

      While it is too soon to evaluate the impact that the Hernandez killing may have on some
      lawmakers interest in expanding the military's domestic counternarcotics role, Pentagon
      officials are more interested in sustaining and building on the initial success of the air
      bridge strategy, and their focus is Peru, where drug traffickers adapted to stepped up air
      interdiction in part by shipping their goods via the 8,600-mile network of Amazonian
      tributaries. "Peru is the center of the source, and its heart," former SOUTHCOM
      Commander, Gen. Wesley K. Clark, explained. "And riverine interdiction is the heart of
      the next important step in disrupting the supply." (93)

      In January 1997, Peruvians signed an agreement with Washington for a $15-million
      riverine interdiction program, under which they will receive three patrol boats, four light
      aircraft, communications equipment, and training. The Pentagon, however, is seeking to
      establish a riverine interdiction program on a much grander scale, according to press
      reports. DOD's preliminary plans include supplying Peru, where an estimated 80 percent
      of the cocaine consumed in the United States originates, with more than 100 patrol boats
      outfitted with M-60 machine guns, satellite-linked tracking and communications
      equipment. Additionally, "scores" of Navy SEAL and Green Beret trainers would make
      regular visits to the Peruvian jungles, and US personnel would to pilot light aircraft to
      guide Peruvian police and navy forces plying the waterways. (94)

      Some Clinton administration officials, however, downplay reports of the large-scale
      riverine plan for Peru, a program which The New York Times said "could eventually
      bring a significant expansion of United States military involvement in anti-drug efforts in
      Latin America." (95) Nor is it clear whether sufficient funding could be obtained to
      finance such a large operation. It is "just one of a number of proposals" under
      consideration by military planners, according to one NSC official, and nothing has been
      agreed to beyond the January accord to supply Peru with a small number of light aircraft
      and patrol boats. (96) Even that proposal, however, evokes concern from human rights
      groups, due to the Peruvian navy's abysmal human rights record. Almost all of the
      "disappearances" documented in recent years by Peruvian human rights groups have
      allegedly been carried out by the navy. In not one case has a serious investigation or
      prosecution moved forward.

      According to press reports, the Clinton administration may also be considering plans to
      create a regional anti-drug air force using US aircraft and foreign pilots. The Dallas
      Morning News reported that the NSC is considering a $400-million proposal to transfer
      more than 70 US war and surveillance aircraft being retired by the Pentagon to Colombia,
      Mexico, Venezuela, Brazil, Peru, and Ecuador. (97) Although Clinton administration
      officials downplay this report, it does dovetail with proposals to create a multilateral drug
      base to be located in Panama.
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      In fact, Panama has been at the focus of much speculation about the future course of the
      US drug war in the hemisphere because Washington has agreed to vacate its eight
      remaining military bases in there by the end of 1999, when that nation takes over the
      Panama Canal. As part of the US withdrawal, SOUTHCOM is set to move its
      headquarters to Miami, Florida. Despite the withdrawal requirement of the 1979 Panama
      Canal Treaty, ACOM Commander Gen. John Sheehan said in June 1996 that he expected
      about 4,000 US troops to remain in Panama after 1999 to help fight narcotics trafficking,
      and a few months later Congress gave the Clinton administration authority to negotiate
      such an extension.

      While most US military planners downplay the impact of the withdrawal from Panama,
      DOD's Sheridan is less sanguine, openly expressing concerns about the Pentagon's loss of
      its Latin America base. SOUTHCOM's move to Miami, he admitted, will make it more
      difficult for US forces to develop better relations with the region's militaries because it is
      "culturally critical" for the commander-in-chief to "live and breath in the theater" to
      which he is assigned. He also laments the loss of Howard Air Force Base, where an
      estimated 1,500 personnel currently support 8,000 flights annually. "It would be hard to
      pick a better spot out on a map" from which to support counter-drug operations in Latin
      America. (98)

      In July 1996, Panamanian President Ernesto Perez Balladares proposed that a hemispheric
      Center for the Combat of Drugs be established at Howard Air Force Base, once the US
      troops remaining there are withdrawn. The plan was met by skepticism from officials in
      coca-producing countries and elsewhere, who are wary that the proposal, clearly backed
      by Washington, could lead to a regional strike force - under de facto US control - that
      would make international drug raids. "The balance of this relationship has been unfair,"
      said Peruvian President Alberto Fujimori, insisting that an anti-drug accord must emerge
      from Latin America, with eventual US support, and not vice versa.(99)

      Clinton administration officials in Washington initially claimed that while they "have
      been consulting" with the Panamanians on the regional counter-drug center proposal, "it
      hasn't gotten that far along." They emphatically deny that they have any intention to push
      for the creation of a regional drug-fighting force. Such claims, they maintain, are "being
      spun by those who are against an increased role for the military." (100)

      But, according to former SOUTHCOM Commander Gen. Clark, the Panamanian proposal
      to establish a multilateral counternarcotics center holds "a great deal of promise." He
      points out that Colombia, Peru, Venezuela, and Ecuador already have taken the "logical
      first step" by assigning military liaison officers to Panama. Last March he stated that these
      countries, along with the United States, currently were involved in "informal discussions"
      with Panama aimed at creating a center that would "go beyond military support and
      handle the myriad of civilian and law enforcement activities" involved in counternarcotics
      operations. Clark, however, adds that even if these discussions are successful, any
      proposal that they yield would be subject to a national plebiscite in Panama. (101)

      Since those statements, the proposal appears to have advanced significantly. On July 15
      the Associated Press reported that, "after months of informal negotiations, Panama and
      the United States will begin talks later in July on establishing a regional anti-drug center,"
      citing a Panamanian government statement. That statement added that the talks would
      seek to "establish a Multinational Anti-Drug Office with the participation of the United
      States." No reference was made to the participation of other countries in the talks or the
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      issue of a possible continued US troop presence at Howard Air Force base. (102)

      XII. Conclusion

      Even as the Pentagon plans further expansion of its counternarcotics efforts, many within
      its ranks remain highly critical of the military's involvement in the drug war. Like their
      civilian counterparts, these critics question the underlying rationale for the mission, its
      effectiveness, and the impact it is having on the region's democratic institutions. They
      also challenge the strategy and tactics being used to carry out the mission, arguing that
      they work at cross purposes with the desired result.

      A Policy Doomed to Failure

      For many military critics the parallels between the drug war and the Vietnam War are
      unmistakable. As one official put it, "Just as in Vietnam, the overwhelming advantages the
      United States possesses in technology, intelligence services, and military strength are not
      sufficient to overcome the political, economic, and social factors that influence the drug
      war." (103) The current situation is also similar to that during US involvement in
      Southeast Asia in that many people then thought that the US military should shoulder
      more of the burden, but in doing so it ultimately damaged US interests. And, as in
      Vietnam, it is "easier from a political standpoint to plunge ahead rather than conduct a
      serious reassessment." (104)

      Moreover, a central lesson of Vietnam, according to military strategists, is the need to
      "win the hearts and minds" of the people in order to deny support to the opponent. With
      large segements of the rural populations in Bolivia, Peru, and Colombia economically
      dependent on coca cultivation, the effect of counter-drug operations is destined to be the
      opposite, pushing people into the arms of the enemy. Noting that each of the 150,000
      cocaleros in the zone was a potential "subversive," a former Peruvian regional
      commander in the Upper Huallaga Valley warned, "Eradicate his field and the next day he
      will be one." (105)

      DOD's counternarcotics operations in Latin America have also been hurt by its poor
      understanding of the Clausewitzian principle of attacking the enemy's "center of gravity,"
      according to critics. If, as Clausewitz suggests, the "center of gravity" is the "hub of all
      power" and "the point against which all energies should be directed," then, by its own
      estimation, the Pentagon is fighting a foe whose defeat is improbable. SOUTHCOM
      officials have identified 14 "centers of gravity" in the drug war, including
      "narcoguerillas," coca farmers, drug labs, coca and poppy growing areas, and drug
      mafias, as well as drug users in the United States and Latin America. These many centers
      of gravity alone would indicate that the mission nears the impossible. Many analysts
      argue that the real "center of gravity" is the demand for drug in the United States, which
      creates the economic incentive to supply them. In which case, "the enemy in the drug war
      is not a foreign army of insurgency, but an economic market." (106)

      The current supply-side approach is further hampered by the "balloon effect" of applying
      pressure one place only to see the problem pop up somewhere else. Perhaps an even more
      accurate description is the "hydra effect." As noted by analysts Eva Bertram and Ken
      Sharpe: "Like the mythical sea serpent that Hercules battled, the drug trade is an evasive
      enemy: Each time one of the hydra's heads is cut off, two more grow in its place." (107)
      Repeated counternarcotics operations have caused traffickers to diverify their supply
      routes, while sometimes forcing coca growers and processors to move their fields and
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      labs to more remote areas. The potential for controling the impact of the hydra effect on
      drug interdiction efforts is severely limited by the shear size of the geographic area
      involved. Peru, Colombia, and Bolivia combined are as large as the United States east of
      the Mississippi, and the Caribbean and Gulf of Mexico equal slightly less than half the
      land area of the United States. Despite the best intentions of the Pentagon and other US
      government agencies, all evidence points to a glut of coca, cocaine and heroin on the
      international and US markets.

      The Negative Consequences

      Beyond the failure of the drug war to date to stem the flow of illicit drugs into this
      country, US military personnel express concern about the unintended consequences of a
      drug war that has led Washington to forge closer ties with military forces that are among
      the worst human rights violators in the hemisphere. In calling for the demilitarization of
      US anti-drug efforts, one Navy commander cited a report on drug policy produced by an
      Inter-American commission that noted that the increased military role in drug
      enforcement in Colombia, Peru, and Bolivia resulted in "greater violence and increased
      violations of human rights." (108) Others warn that by tightening its alliance with local
      military forces, the US government undermines people's faith in civilian institutions at a
      time when democratic development remains delicate.

      Clinton administration officials respond vociferously to suggestions that human rights and
      democratization take a back seat to the objectives of the drug war. They routinely stress
      that all counternarcotics training provided to the region's militaries includes human rights
      instruction and that all US personnel receive human rights training before they are sent to
      the region, where they are required to report any suspected abuses by their allies. But
      through the drug war, US assistance is provided prior to improvements in human rights
      performance or demonstrated political will on the part of aid recipients to hold
      accountable those responsible for abuses.

      Washington works most closely with local military forces because there are few
      alternatives, explains ONDCP's Brown, noting that police in the region are "most
      typically corrupt because they are vastly underpaid." The alternative of strengthening
      civilian institutions to increase their effectiveness in countering drug trafficking "is not a
      viable approach anywhere in the near term." (109) However, as described above, the long-
      term consequences of increasing military involvement in the drug war may be even more
      detrimental to prospects for democratic consolidation and regional stability, both of which
      are fundamental for international drug control efforts to ultimately succeed. Calling out
      the troops may satisfy short-term needs to score political points at home, but it
      undermines efforts to reign in Latin American militaries and redefine their roles to
      encompass only traditional national defense. Nor is it clear that bringing in the military
      will allow local governments to circumvent the very real problem of corruption. As
      Bolivian President Gonzalo Sánchez de Lozado, who just completed his term in office,
      once put it succinctly: "When you have a corrupt chief of police, you fire him. When you
      have a corrupt chief of the army, he fires you." (110) The lack of accountability and
      transparency for the region's armed forces make routing out the inevitable corruption that
      accompanies anti-drug efforts even more difficult.

      What the Future Holds

      The future course of the Pentagon's counternarcotics efforts is unlikely to be shaped as
      much by the debate within the US military or the Clinton administration as it will be by
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      developments on Capitol Hill by those who control the purse strings. In the drug war, as
      DOD's Sheridan admits, the Pentagon does "what we have been told to do" by Congress.
      (111) Political pressure there for further militarization of the drug war is undeniable, with
      lawmakers displaying their enthusiasm by consistently providing DOD with more
      counternarcotics funding than the White House requests, including an additional $143
      million in FY1997.

      A senior staff member of the Senate Armed Services Committee observed, "There are
      people who want to send the 1st Infantry down there to take on the Cali cartel, the
      Medellin cartel, FARC, and everyone else." (112) However, he stressed that none of these
      calls is emanating from his committee or its House equivalent, the two bodies that have
      the most direct influence on military policy. One of the US Navy's highest ranking
      officials, now retired, also dismissed the heated rhetoric by noting, "When congressmen
      and senators sound off, it is usually 10 percent body and 90 percent odor." 113

      How noxious the current stink becomes may depend on how effective general-turned-
      drug-czar McCaffrey is in his post. When Clinton named the Persian Gulf war hero and
      former SOUTHCOM Commander head of the ONDCP in March 1996, it was widely seen
      as a direct response to Republican election-year criticisms that the President was "soft" on
      drugs. And many people argued, some favorably, that the appointment presaged a further
      militarization of the drug war. Since taking office, however, McCaffrey has eschewed use
      of the war metaphor when discussing US anti-drug efforts, preferring to cast the enemy
      not as a military foe but rather a social "cancer" that requires a different sort of response.
      "At the end of the day, I would suggest that this actually isn't a war and it's not to be won
      by anybody's army," he told Congress soon after being named drug czar. "At the end of
      the day, prosecutors, law enforcement officers, teachers, school superintendents, religious
      leaders, that is who the front-line troops are." (114)

      Nevertheless, while McCaffrey may be inclined to view the Surgeon General as the most
      appropriate commander for the overall US counternarcotics effort, it is clear that he
      believes there still is a vital role for US military forces to play. In a March 1997 speech at
      the Heritage Foundation, he reiterated his argument that the use of the war metaphor is
      inappropriate, but then quickly made an exception for Latin America, where "the
      language is pretty useful for us." (115) Despite General McCaffrey's rhetoric highlighting
      the problem of demand for illegal drugs, programs and resources have not shifted
      accordingly. The expanded ONDCP staff is stacked with his military proteges, and he has
      proven himself to be more adept at obtaining funds for his Latin American military allies
      than for domestic, demand-related programs. In fact, the Clinton administration continues
      to maintain the ratio of spending for supply and demand-side programs at approximately
      two to one.

      The 1997 National Drug Control Strategy, the first the ONDCP has produced fully under
      his tenure, provides additional evidence that McCaffrey will keep US military personnel
      active in the fight against illegal drugs, both internationally and domestically. US forces
      and their regional allies must continue to "give the traffickers no quarter," the report
      urges, and to do so will require "taking aggressive action in source countries, throughout
      the transit zone, and at our borders." (116) But the plan also calls for carrying out these
      actions with less money, as the Clinton administration has proposed giving the Pentagon
      $808.6 million for counternarcotics programs in FY1998, $150 million less than Congress
      provided in FY1997.

      Since politics shapes the course of US policy more than the realities of the drug problem,
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      the future role of the military in solving this problem ultimately may be decided by which
      of two strong popular currents proves to be the most powerful, in terms of generating
      public pressure. The first is the deficit-driven mania to slash government spending, which
      raises the question of how long the public will tolerate the expenditure of nearly a billion
      dollars a year on DOD counternarcotics efforts that have yielded little in terms of
      reducing the demand for and availability of drugs in the United States. Will advocates of
      expanded drug treatment programs soon gain the upper hand in the debate with their
      arguments that such programs reduce demand at a fraction of the cost of interdiction,
      whether it takes place in the ever-expanding transit zone or source countries?

      But defense spending traditionally has been the last area hit by the congressional budget
      ax, and this is a result of the second driving force, the near-childlike faith Americans have
      in the ability of their armed forces. "Americans want the cavalry to come to the rescue, as
      it did in so many movies they saw as children," and they believe the military solution the
      national drug problem will be relatively painless "precisely because it would occur
      outside the United States." (117) As long as the national drug control strategy continues
      its overwhelming emphasis on supply side controls, much of the action in the drug war
      action is guaranteed to occur beyond US borders under the Pentagon's command. The
      principal question that remains is how "aggressive" that action will be. The costs to
      democratization and human rights throughout the region will no doubt continue to be
      high.


      Appendix A

      The Pentagon's Drug Warriors

      The US military currently is organized into nine Unified Combat Commands (UCCs),
      although the number is not fixed by law or regulation. Each of the UCCs, most of which
      are geographically defined, is made up of two or more military services and is subdivided
      into component commands. The following are the commands most directly and deeply
      involved in carrying out the Department of Defense counternarcotics mission in Latin
      America and the Caribbean.

      Southern Command

      With approximately active 6,500 military personnel, SOUTHCOM is the smallest of the
      UCCs, but it plays the largest role in US counternarcotics operations, as "supporting drug
      suppression efforts" is a top priority. While the number of US troops in Panama peaked at
      nearly 75,000 during World War II, the ongoing US withdrawal will reduce that number
      to just 4,400 by September 1997. The command depends heavily on reserve and National
      Guard forces to carry out its mission, annually deploying more than 50,000 personnel
      from these forces throughout the Americas.

      Its area of responsibility (AOR) stretches 6,000 miles from Mexico's southern border to
      Cape Horn. The command also has responsibility for security assistance to Mexico, even
      though it is outside its AOR, which is being expanded in 1997 as part of recently
      approved changes in the Unified Command Plan. In January, it assumed responsibility for
      the waters adjoining Central and South America, and as of June 1 it is responsible for an
      additional portion of the Atlantic Ocean, the Caribbean Sea and its island nations, and the
      Gulf of Mexico. The transfer of these areas, previously part of ACOM's AOR, to
      SOUTHCOM will allow the US military to "synchronize and unify all counter-drug
      activities in the transit and source zones," according to Gen. Wesley Clark, who until
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      recently was commander in chief. As part of the US withdrawal from Panama, the
      command will be moving its headquarters to Miami this year.

      Primary elements of SOUTHCOM include an Army light infantry brigade, Army aviation
      brigade with helicopters and fixed-wing aircraft, Navy special warfare unit, and Air Force
      medium airlift and tactical aircraft. The command's facilities in Panama include Howard
      Air Force Base, home of the Air Force's only short take-off and landing squadron, a vital
      support unit in an AOR where "the vast majority of airstrips are dirt strips less than 2,000
      feet long." The Air Force component of SOUTHCOM also currently operates ground-
      based radars in Iquitos, Peru; Pucallpa, Peru; Leticia, Colombia; and Marandua,
      Colombia. Naval personnel, from the US Atlantic Fleet, operate the Naval Small Craft
      Instruction and Technical Training School at Rodman Naval Station in Panama, where
      Latin American military forces receive instruction in riverine operations and small-craft
      maintenance. Based at Fort Clayton, Panama, the Army component runs a Jungle
      Operations Training Center, the only US center of its kind.

      The Army and Air Force have some 500 personnel permanently assigned to and
      temporarily deployed with Joint Task Force Bravo, located at Soto Cano Air Base,
      Honduras, whose mission includes support for multilateral counter-drug exercises and
      operations. Other subordinate commands that focus on counternarcotics operations
      include a Joint Inter-Agency Task Force (JIATF-South), which has representatives of
      DIA, DEA, US Customs Service, other federal agencies, and allied military services.

      Atlantic Command

      Recent revisions of the United Command Plan removed the drug transit zones from
      ACOM's area of responsibility. Nevertheless, the command continues to play a vital role
      in detection and monitoring operations through its component JIATF-East, headquartered
      in Key West, Florida. With the 1997 National Drug Control Strategy calling for stepped
      up efforts to close the Caribbean "back door" drug traffickers use as a route into the
      United States, the task force is certain to remain busy.

      ACOM also plays a key role in the military's domestic counternarcotics operations
      through its subordinate commands, particularly US Army Forces Command
      (FORSCOM), which consists of more than 760,00 active Army, US Army Reserve and
      Army National Guard soldiers. FORSCOM, which coordinates military forces inside the
      United States, supports counter-drug operations along the southwest border through Joint
      Task Force (JTF-6), based at Fort Bliss, Texas. JTF-6 builds and maintains border fences,
      installs remote sensors, and conducts surveillance missions. Troops also assist domestic
      law enforcement by inspecting airport cargo, tracking money laundering operations, and
      providing equipment, such as high-intensity lights, to disrupt street-level drug trade.

      Pacific Command

      Geographically the largest UCC, PACOM's area of responsibility extends from the west
      coast of the United States mainland to the east coast of Africa, and from the Arctic Ocean
      to Antarctica. Subordinate commands directly involved in counternarcotics operations
      include JIATF-West in Alameda, California, and the Domestic Air Interdiction
      Coordination Center at March Air Force Base, California. In response to interdiction
      efforts in the Caribbean and Mexico, drug traffickers have turned to the vast open waters
      of the eastern Pacific, making them a primary transit route for cocaine entering the United
      States and drawing PACOM deeper into the drug war. The lack of natural choke points in
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      the Pacific shipping lanes makes interdiction even more problematic than it is in the
      Caribbean and Atlantic.

      Special Operations Command

      The 46,000-plus members of the special operation force - mainly Army Green Beret and
      Navy SEALs - are assigned to both the Special Operations Command, which was
      activated in 1987, and to geographic commanders in chief. They serve in all regions of the
      world, including Latin America, where "on an average day" 200 people are deployed in
      nine different countries. US ambassadors in the region have hailed them as "truly the
      cream of our country's military" and "one of our country's great resources."

      Center for Defense Information analyst David Isenberg notes that "SOC has long seen
      drug trafficking as an opportunity to justify its existence." Its personnel contribute to
      counternarcotics efforts both overseas and at home, where it provides
      listening/observation posts in remote areas along the southwest border. International
      counter-drug operations - undertaken as part of its foreign internal defense mission aimed
      at defending friendly governments against insurgency - provide support to the US
      ambassador and "country team," primarily through the DEA. According to Commander
      Gen. Henry H. Shelton, support includes: the use of Military Information Support Teams
      assistance for the development of public drug awareness programs in the host nation;
      training for host-nation counter-drug law enforcement personnel; intelligence analysis;
      and language proficiency and translation support "against major drug trafficking
      operations in the United States." Special forces personnel currently play a vital role in the
      riverine interdiction training in Peru, Colombia, and elsewhere.

      North American Aerospace Defense Command

      A component of the US Space Command, NORAD is a binational United States and
      Canadian organization charged with monitoring and controlling North American air
      space. As part of its aerospace control mission NORAD assists in the detection and
      monitoring of aircraft suspected of illegal drug trafficking. It operates a network of
      ground radars to warn against high-altitude penetration of US airspace, while the
      coverage of low-flying aircraft is accomplished with land-based aerostat (tethered
      balloons) radar that form a detection fence along the southern border.

      Sources: Department of Defense; Office of National Drug Control Policy; testimony of
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      112. Interview with senior committee staff member who spoke on the condition of
      anonymity. March 1997.
      113. Interview with Adm. Elmo Zumwalt. March 1997.
      114. McCaffrey, Gen. Barry, "Hearings before Subcommittee on the Treasury, Postal
      Service, and General Government Appropriations," US House Committee on
      Appropriations, 17 April 1996. p. 328.
      115. Barry McCaffrey speech at the Heritage Foundation, 19 March 1997.
      116. Office of National Drug Control Policy, "The National Drug Control Strategy, 1997,"
      February 1997. p. 55.
      117. Mabry, 1990, op. cit.
